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                                                                                        NOV 17 2014
              IN THE CHANCERY COURT OF SHELBY COUNTY,TEN                           fifiN L. RUSSELL, C & P
                 FOR THE THIRTIETH .JUDICIAL DISTRICT AT MEM                         :         BY:


   MARVELL MITCHELL and
   LEDELLE MITCHELL

          Plaintiffs.

   VS.                                                       Docket No. CH-I4-tJ

   NEW PENN FINANCIAL,LLC d/b/a
   SHELLPOINT MORTGAGE
   SERVICING; BANK OF NEW YORK
   MELLON f/k/a BANK OF NEW
   YORK,AS TRUSTEE FOR THE
   HOLDERS OF THE CERTIFICATES
   CWMRS,INC, CHL MORTGAGE
   PASS THROUGH TRUST 2005-11,
   MORTGAGE PASS THROUGH
   CERTIFICATES SERIES 2005-11
   Bank of AMERICA,N.A.;
   RECONTRUST COMPANY,N.A.;
   and WEISS SPICER CASH,PLLC

          Defendants.


                                 TO ENJOIN FORECLOSURE SALE AND
                                 COMPLAINT FOR DAMAGES


  TO THE CHANCELLORS OF THE CHANCERY COURT FOR THE THIRTIETH

  JUDICIAL DISTRICT:

          COME NOW the Plaintiffs, Ledelle and Marvell Mitchell, by and through legal counsel;

  Brewer & Barlow PLC. Webb Brewer and Steve Barlow, and file their Petition and Complaint

  and state as follows:

                                   I.     Preliminan'Statement

         1. Plaintiffs Ledelle and Marvell Mitchell bring this Petition to Enjoin Foreclosure Sale
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            for rescission and restitution for fraud in the inducement of a loan transaction and

            Complaint for Damages pursuant to the Truth in Lending Act and Regulation Z

            promulgated thereunder; /2 C.F.R.§ 226.39; for breach of contract and breach of the

            covenant of Good faith and fair dealing attendant thereto; violations of the Tennessee

            Consumer Protection Act, Tenn. Code Ann. §47-18-101 et seq.; and for violations of

            the Fair Debt Collection Practices Act, 15 U.S.C.§ 1692, et seq..

                                   IL      Jurisdiction and Venue


        2. Jurisdiction is conferred on this Court by T.C.A. § 16-11-101.

        3. Venue is proper in this Court as the claim arose in this District.

                                            Parties

        4. Plaintiff, Ledelle Mitchell ("Mrs. Mitchell"), is a citizen and resident of Shelby

           County, Tennessee and resides at 9375 Zachariah Cove, Memphis, Tennessee 38133.

           She is the wife of Marvell Mitchell.

        5. Plaintiff, Marvell Mitchell ("Mr. Mitchell"), is a citizen and resident of Shelby

           County, Tennessee and resides at 9375 Zachariah Cove, Memphis, Tennessee 38133.

           He is the husband of Ledelle Mitchell.

       6. Defendant Nev Penn Financial, LLC, d/b/a Shelipoint Mortgage Servicing

           ("Sheilpoint") is a foreign corporation, duly registered with the Tennessee Secretary

           of State. its registered agent for service of process is National Registered Agents,

           inc., 800 Gay Street, Suite 2021, Knoxville, Tennessee 37929.

       7. Defendant, Bank of America, N.A.("BOA"), is a corporation organized and existing

           under the laws of the State of Delaware. Its principle offices are at 100 North Tryon

           Street; Charlotte, North Carolina, 28255. At all relevant times, BOA has transacted
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            and continues to transact business in Memphis and Shelby County, Tennessee. BOA

            does not have a registered agent for service of process in Tennessee.

         8. The Bank of New York Mellon Corporation F/KJA the Bank ofNew York, as Trustee

            is a financial services company that specializes in asset management. Upon

            information and belief, it serves as Trustee for a mortg.age-backed security loan pool

            which owns the Mitchell's mortgage loan. The Bank, of New York Mellon

            Corporation is not registered with the Tennessee Secretary of State and does not have

            a registered agent for service of process in the State of Tennessee. Its principal offices

            are located at One Wall Street, New York,New York, 10286.

        9. Recontrust Company, N.A.,("Recontrust") is a wholly owned subsidiary of Bank of

            America, N.A. and is headquartered in Simi Valley, California. it specializes in non-

           judicial foreclosure sales. and provided a Fair Debt Collection Practices Act notice to

           the Plaintiffs on behalf of the owners of the beneficial interest of the power of sale in

           the Mitchell's Deed of Trust; however, it did not respond io Mr.'Mitchell's request

           for validation of the validity and amount of debt as required by law.

        10. Defendant Weiss Spicer Cash, P.L.L.C. ("Weiss Spicer Cash") is a domestic

           Professional Limited Liability Company duly licensed in the State of Tennessee. Its

           registered agent for service of process is Arnold M. Weiss, 208 Adams Avenue,

           Memphis, Tennessee 38103. No claim is asserted against Weiss Spicer Cash;

           however, as Substitute Trustee in a threatened foreclosure sale of property that is the

           subject of this lawsuit, it is an indispensable party pursuant to Rule 19 of the

           Tennessee Rules of Civil Procedure.

                                         IV. actual Allegations



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         11. The Plaintiffs purchased their home at 9375 Zachariah Cove, in Memphis in

             approximately 2002.

         12. They paid approximately $525,000 for the property, and financed the sale through a

             short-term line ofcredit.

         13. The Plaintiffs owned a home in Germantown, Tennessee, at the time and purchased

             the property at 9375 Zachariah Cove in a distressed sale because it was in foreclosure.

         14. They had been looking for a good long-term loan to refinance the quick financing

            arrangement they had originally obtained.

         15. Mr. Mitchell received a call from a foinier co-worker, who had gone into the

            mortgage business, about a good financing opportunity.

         16. He had previously mentioned to him his need to get long-term financing for his new

            home.

         17. Mr. Mitchell believed the man, whose name is Irving Smith, worked as a loan officer

            for Countrywide Home Loans, Inc.("Countrywide").

        18. Mr. Smith encouraged Mr. Mitchell to choose a Countrywide loan product, which he

            said would allow Mr. Mitchell to pay interest only for ten years and then convert to

            an amortizing loan for the remainder of the thirty-year loan term.

        19. Mr. Smith knew that Mr. Mitchell had made extra payments on the mortgage on his

            prior home to reduce the principal ahead of the amortization schedule.

        20. He emphasized to Mr. Mitchell that he would save money by obligating himself to

            only pay monthly interest and then make substantial principal reduction payments as

            he was able.

        21. Mr. Mitchell relied on the advice of Mr. Smith, believing that he had special expertise



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                in mortgage lending, had thorough knowledge of the best available Countrywide

                products as a loan officer, and was looking for his best interest because oftheir past

                friendship,

         22. On December 31, 2004, the Plaintiffs refinanced their home at 9375 Zachariah Cove,

               Memphis, Tennessee 38133, based upon the guidance of Mr. Smith.

         23. As     it turned out, Mr. Smith was apparently a mortgage broker for AME Financial

               Corporation ("AME"), a Norcross, Georgia company. The loan was arranged by

               AME; although Mr. Mitchell did not really focus on the significance of that fact at the

               time.

         24.   The principal amount of the new loan was $611,000.00; of which $608,879.71 was

               paid to EverHome Mortgage Company to pay off the existing. indebtedness.

         25,   The Plaintiffs paid $4,916.94 at the closing, according to the "HUD 1" Settlement

               Statement, and were charged $6,966.73 in closing charges.

         26.   Significantly, there is no loan origination fee or broker's fee disclosed on the

               settlement statement. Instead, a line item described as "Yield Spread Premium" states -

               "Broker pd. by Lender". Mr. Mitchell did not know what a "yield spread premium"

               was at that time and, again, did not focus on the significance of this detail.

         27.   The Plaintiffs have no idea how much was paid to Mr. Smith or AME Financial

               Corporation by Countrywide, the lender; however, in subprime lending a "yield

               spread premiums" was a euphemism for a kick-back or excessively generous broker

         •     fee for an especially profitable high-cost loan that was destined for bundling into a

               mortgage-backed security pool.

        28.    The loan is evidenced by a highly confusing document labeled as an "InterestOnly



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                ADJUSTABLE RATE NOTE". (The Note is attached as "Exhibit A" to the

                Complaint.)

         29.     Despite the label, the Note calls for a thirty-year loan term with fixed interest-only

                payments for a ten-year period and then conversion to an adjustable interest rate for

               an additional twenty years.

         30.   According to the Note; not only the interest rate chances at the first "change date" in

               February, 2015; but the loan converts to an amortizing loan with monthly principal

               payments calculated to pay off the principal indebtedness over the remaining twenty

               years of the loan,

         31.   The initial interest rate was 5.375%; but based upon a LIBOR index could increase to

               a ceiling of 10.375%. After the initial change date, the rate is subject to annual

               changes. After the first "change date" the interest rate would be adjusted annually to

               2,250 above the current LIBOR index.

         32.    The initial monthly payments called for in the Note were 52,736.77, which did not

               include an escrow account for taxes and insurance.

         33.   At the closing, Mr. Mitchell sicned an Escrow Waiver form, which clearly showed

               that he had responsibility for paying the real estate taxes on the property as well as the

               mandatory insurance coverage.

        34.    Both the Note and the Deed of Trust executed to secure the debt identified AME

               Financial Corporation as the lender and the entity holding the beneficial interest in the

               power ofsale clause in the Deed of Trust; however, a document civen to the Plaintiffs

               at closing states that the loan/ servicing had been transferred to Countrywide Horne

               Loans, Inc. and that payments should he sent to its payment center beginning on



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                March 1, 2015.

         35.    The assertion that AME Financial Corporation was the initial lender is also

                contradicted by Line 814 on the Settlement Statement, which states "Broker pd. by

                Lender". Presumably; this means that AME Financial Corporation, or Mr.Smith

                was paid by Countrywide.

         36.    Under the terms of the Note, the Plaintiffs would pay $328,412.40 in interest,

               without having reduced the principal at all before the first change date and then would

               recommence paying interest on the entire loan balance in addition to making principal

               payments on a twenty- year amortization schedule.

         3/. If the interest rate remained the same over the entire loan period, the Plaintiffs would

               be required to pay $998,393.11 in interest over the remaining twenty years ofthe term

               of the loan. This would result in a total interest payment of $1,326,805.51 over the

               life of the loan, in addition to repayment of the principal balance of $611,000.00;for

               a total payoffof$1,937,805.51.

        38.. By     contrast, the Federal Truth- in- Lending Disclosure Statement provided to the

               Plaintiffs at the closing estimated the total finance char= to be $670,604.09 and the

               total of payments to be $1,276,034.21. (The Disclosure Statement is attached as

               "Exhibit B" to the Complaint.)

        39. It is   difficult to understand what assumptions as to future interest rates were made to

               reach those figures.

        40.    Similarly, the Disclosure Statement provides that payments would go from $2,736,77

               to $3,948.43 upon the change date after fen years from the inception of the loan.

        41.    my. Smith down played the disclosed estimated $1200.00 payment increase by



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                emphasizing that the principal balance would have been paid down substantially.

         42.    Given that monthly principal payments of S2,545,83 would be required to pay the

                principal balance over the remaining twenty-year term of the loan, this estimate

                appears to be based upon a very unrealistic interest rate after the change date.

         43.    Again; assuming that the interest rate. remained the same the monthly payments

                would likely be in excess of55,000.00 per month.

         44.    Upon information and belief, no underwriting was done to determine the Plaintiffs'

                ability to pay the likely increase in monthly payments after the initial change date.

         45.   Although he is a successful businessman and owner of an information and technology

               company, Mr. Mitchell did not realize the extent to which the Note he signed would

               likely result in increased interest payments over the life of the loan or the extent of the

               likely increase in monthly payment amounts upon reaching the initial change date.

         46.    The Plaintiffs did not know that Mr. Smith, who had recommended the loan to him

               and on whose advice he relied, was being paid an incentive by Countrywide for

               getting them to take this loan.

        47.    Neither did they realize that Countrywide had embarked on a callous strategy to push

               risky, high-cost loans on consumers like them.

        48. In or about 2004 Countrywide set out to maximize its profits by doubling its share of

               the national mortgage market to 30% through a deceptive scheme to mass produce

               loans for sale on the secondary market.

        49. This strategy followed a national trend in which lenders that had previously

               originated loans for retention in their own portfolios began to generate as many

               mortgages as possible for sale on the secondary market.



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         50. Countrywide implemented this deceptive scheme by the use of misleading market

             practices designed to sell risky, high-cost home loans to homeowners who did not

             understand the dangers and excessive costs of the loans.

         51. Some of the deceptive practices employed by Countrywide included claiming to be

             the nation's largest lender to build trust with consumers; encouraging borrowers to

             refinance with complicated mortgage instruments like payment option adjustable rate

             mortgages(Pay Option ARMs)that were extremely difficult for consumers to

             understand, and marketing these. complex loan products by emphasizing very low

            "teaser rates while obfuscating or misrepresenting later steep monthly payment and

             interest rate increases.

         52. Countrywide also created a high-pressure sales environment that forced branch

             managers and loan officers to meet high production goals and close as many loans as

            possible without regard to the borrower's ability to repay the loan.

         53. This high-pressure environment also led loan officers to push the riskiest kinds of

            loans, such as pay option adjustable rate mortgages, because they could sell them by

            deceptively focusing the borrower's attention on the low initial monthly payments

            and interest rates.

         54. The primary goal of Countrywide's deceptive scheme was to provide the secondary

            market with as many loans as possible, ideally those that would earn the highest

            premiums because of their high interest rates and other exploitative features.

        55. Most of these loans were sold as mortgage-backed securities or whole loan pools.

            Countrywide tailored its loan products and marketing strategies to satisfy the desire of




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              investors in the secondary market. Adjustable rate mortgages with high average

              interest rates were among the most demanded loans to fill loan pools.

          56. Countrywide often retained the right to service loans it pooled and sold. Fees for

             servicing drove profits even higher.

          57.1n a typical securitization transaction, loans were pooled together and transferred to a

             trust controlled by the securitizer. The trust then sold securities backed by the loans in

             the pool. Holders of securities obtained the right to a portion of the revenue.from the

             pooled loans. These securitizations often involved pooling thousands of loans and the

             sale of thousands of shares.

          58. Countrywide's reported securities trading volume grew from 647 billion dollars in

             2000, to 2.9 trillion dollars in 2003;3.6 trillion dollars in 2005; and 3.8 trillion dollars

             in 2006.

          59. Countrywide's business model increasingly focused on finding ways to create an

             even larger volume ofthe types ofloans demanded by investors.

         60. Countrywide became so eager to fill loan pools that it began to sell loans "forward",

             before the loans were even funded.

         61. For example, Countrywide might anree that it would deliver 2000 .A.RMs meeting

             certain criteria to a purchaser two months later. These transactions were based upon

             the ability of high-ranking Countrywide officials to monitor loans in production and

             influence the loans ultimately made to conform to agreements already entered.

         62. It is not hard to envision that sale ofloan pools made up of loans that had not yet been

             made created a great deal of confusion as To the ownership ofindividual loans to the

             detriment of both consumers and investors.



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          63. It has now come. to light, through sworn testimony of a BAC official in 2010, that it

              was customary for Countrywide to retain possession ofPromissory Notes and related

             security agreements after the sale of loans into a loan pool for the secondary market.

         64. This practice. was contrary to the standard "pooling and servicing" agreement, which

             required the seller to assign the critical documents to the purchaser within a fixed

             period of time.(Generally forty-five to ninety days.)

         65. This apparent breach of the master agreements has thrown into question the

             ownership of thousands of Countrywide loans since Countrywide disposed of

             approximately 96% of its loans to the secondary market.

         66. it has now conic to light that the Plaintiffs' loan was apparently transferred to a

             mortgage-backed security pool in keeping with Country wide's overarching business

             plan, although they were not given notice of transfers of ownership; as required by the

             federal Truth-in-Lending, Act and Regulation Z promulgated thereunder.

         67. Had the Plaintiffs understood any ofthese facts and realized they were pawns in a

             massive plan to flood Wall Street with risky, high-cost loans, they would not have

             agreed to enter into their loan.

         68. Most especially, if they had realized that Mr. Smith, whom they thought was working

            for their best interest, was being paid a financial incentive to get them into a certain

            loan product to fill a mortgage-backed security pool, they would not have entered the

            loan agreement.

         69, At the time of the first payment, the Plaintiffs began to make the scheduled payments

            as they had been instructed,

         70. In addition, MI. Mitchell made extra payments totaling approximately $36,000.00



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             intended to reduce the principal indebtedness as he had planned with Mr. Smith;

             however, these payments do not appear to been credited to the Plaintiffs' loan balance

             in any of the documentation furnished to them.

          71. In a well-publicized transaction; Bank of America acquired Countrywide in or around

             2008. Countrywide loans came to be serviced by Bank of America Home Loans, a

             subsidiary of Bank of America, National Association ("BANA"). Ultimately BANA

             took over servicing.

         72. In or about May of 2012, the Plaintiffs received correspondence from Bank of

             America Home Loans advising that an analysis of their escrow account revealed an

             escrow shortage of $23,954.51, (This letter is attached as "Exhibit C" to the

             Complaint.)

         73. Of course; this was puzzling to Mr. Mitchell since there was no escrow account in the

             Plaintiffs' Note.

         74. The correspondence went on to say that "the escrow portion of your (monthly)

             payment is changing to $1,532.25".

         75. The correspondence showed a new "month.ly home loan payment effective 05/20/12"

            of$4079.29.

         76. Mr. Mitchell had contractually agreed to maintain insurance on the property and pay

            the taxes and keep the lender's security free from peril and had done so since the

            inception of the loan.

         77. Nothing in the Deed of Trust executed by the Plaintiffs at the closing (attached as

            "Exhibit D" to the Complaint) gave the leder the right to unilaterally create an escrow

            account.



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          78. At the time that this began, Mr. Mitchell was a few months behind in payment of

             local real estate taxes but was in no jeopardy whatever of the property going to tax

             sale, being that he was considerably less than one year in arrears and local

             governments do not begin a tax sale process unless or until there is at least a three-

             year arrearage in payment.

          79. Mr. Mitchell began to protest this action immediately and attempted to make his

             interest-only payments as scheduled.

          80. He also requested information about what, if anything, had been paid to taxing

             authorities on his behalf, but could get no cogent answer.

         81. Moreover, he demanded information about how there could be a £23,954.51 shortfall

             in an escrow account that did not exist.

         82. BANA would not accept the scheduled payment amount and, instead, in a "pay it or

             else-- gesture, referred the loan to its, subsidiary, Recontrust Company; N.A., for

             foreclosure.

         g3. On September 6,2012, Recontrust sent a letter to each of the Plaintiffs pursuant to

             the Fair Debt Collection Practices Act, advising that it had been appointed substitute

             trustee under the Deed of Trust, that they owed a balance of £628,592.98 and that the

            property would be advertised for foreclosure sale, and that they could notify the

            substitute trustee in writing within thirty days if they disputed the validity or amount

            of the debt.

         84. Mr. Mitchell sent letters on October 3, 2012, and November 12, 2012, questioning, the

            validity and amount of debt and requesting information about the alleged escrow

            account; however, he never received a response to this correspondence as required by



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             the Fair Debt Collection Practices Act.

         85. Neither .BANA nor the trustee for the security pool moved forward with foreclosure

             at that point.

         86. A stalemate continued in which the Mitchells refused to pay the increased payments

             and BANA refused to accept the payments called for in the Note.

         87. Mr. Mitchell's attempts to stet a resolution to the dispute only led to suggestions that

             he apply for a loan modification.

         88. He attempted to do this; however; he ran into a bureaucratic nightmare of inability to

             get consistent communication, conflicting information; and repeated requests to

            submit sensitive financial information over and over.

         89. Later; however, in or around 2014, the Plaintiffs received a notice that servicing of

            the loan had been transferred to Resurgent Capital Services; LP.

         90. At some time after that the Plaintiffs received a Fair Debt Collection Practices Act

            letter from Arnold M. Weiss of Weiss Spicer Cash.

         91. A short time later, the Plaintiffs received notice that the servicing of their loan had

            been transferred to Shellpoint.

         92. More recently Plaintiffs received another Fair Debt Collection Practices Act letter

            from Mr. Weiss along with a Notice of Sale for November 18; 2014; at noon.

         93. UniesS the Court enjoins the pending sale; the Plaintiffs will lose their home and

            suffer irreparable injury.

                                              V. Claims for Relief

                        COUNT I: Fraud in the Inducement of the Loan Transaction




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          94. The allegations of all other paragraphs and claims in this pleading are incorporated as

              if fully rewritten herein.

          95. The. Mitchells were induced to enter the loan transaction by a complex scheme to

              mislead consumers like themselves about the real nature of"interest Only ARMS" as

              part of a plan to sell thousands of loans onto the secondary mortgage marker as set

             out above.

          96. The Mitchells reasonably relied on active misrepresentations and concealment by

          Countrywide and its agent, Mr. Smith, which fraudulently induced them to enter into a

          very toxic and exploitative loan agreement, which has caused them significant damage

          and which should be rescinded by the Court.

          97. Among other false and misleading statements and material omissions made to the

             Mitchells in the days and weeks leading up to the execution of the loan agreement on

             or about June 23, 2005, were the following:

                 O   Mr. Smith led Mr. Mitchell to believe he could save money on interest by

                     taking the extended Interest only" feature and making voluntary prepayments

                     rather than entering a fully amortizing loan.

                • Estimates of payment increase after resetting of the loan g.rossly, and

                     purposefully, understated the payment increase on the change date.

                • During the underwriting process Countrywide did not consider whether Ivir.

                     Mitchell would be able to afford the monthly payments once the loan recast to

                     an amortizing monthly payment.

                • The Mitchells were not informed that Mr. Smith, like other mortgage brokers

                     or originators, was offered significant financial incentives to push customers



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                     toward risky ARMs by misleading borrowers and obfuscating the true terms

                     of the loan.

                 ®   The Mitchells were not informed that the primary reason for promoting the

                     "Interest Only Arm" to potential borrowers like themselves was to fill up loan

                     pools for sale on the secondary market.

                     The Mitchells were not told that their minimum monthly payments would

                     likely double upon reset to an amortizing. loan.

                COUNT         Violation of Regulation Z of the Truth-In-Lending Act


         98. The allegations of all other paragraphs and claims in this pleading are incorporated as

            iffully rewritten herein.

         99. By failing to notify the Plaintiffs of the change in ownership of their mortgage the

            defendants have violated the provisions of Regulation Z of the federal Truth-In-

            Lending. Act found at 12 C.F.R.§ 226.39.

         100.   Specifically, the Plaintiffs have recently come to learn of an assignment of the

            Deed of Trust they executed in December of2004 from the Mortgage Electronic

            Registration System; Inc.("NIERS") as nominee for AlviE Financial Corporation to

            Bank of New York Mellon; flit/a/ Bank of New York, as trustee for the investors or

            certificate holders for the loan pool that allegedly owns the loan on April 2, 2012.

         101.   Plaintiffs were never notified of this transfer as required by law.

                                     COUNT III: Breach of Contract

         102.   The allegations of all other paragraphs and clairns in this pleading are

            incorporated as if fully rewritten herein,

         103.   By attempting to impose an escrow account on the Plaintiffs' loan; which was not


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                called for in the Note, Deed of Trust, or any other contractual actreement, and which

                directly contradicted the contractual agreement of the parties, Defendant BANA has

                breached the loan contracts entered between the Plaintiffs and AME on December 31.

              2004.

          104.     By accelerating the Plaintiffs loan and initiating foreclosure when there had been

              no breach of the Note or any other breach giving rise to exercise of the power of sale

              under the Plaintiffs' Deed of Trust, BANA, Bank of New York Mellon, and

              Shellpoint have breached their loan agreement.

          l 05.    As a result of this breach, the Plaintiffs have suffered substantial economic

             damage and are faced with the potential loss of their home.

             COUNT IV: Breach of the Covenant of Good Faith and Fair Dealing

          106.     The al legations of all other paragraphs and claims in this pleading are

             incorporated as if fully rewritten herein.

         107.      By committing the acts complained of, BANA and Shellpoint have violated the

             common law covenant of good faith and fair dealing in carrying out the contractual

             Loan servicing responsibilities associated with the loan transaction.

         10S.      Specifically, by attempting to require the Plaintiffs to make escrow payments and

             collect monthly payments far in excess of those called for in the loan agreement, they

             have breached the. covenant of good faith and fair dealing that is implied in every

             contractual relationship.

         109.     Further, by refusing or failing to give Plaintiffs an explanation of the alleged

             escrow shortage or what, if any, costs were paid by them on behalf of the Mitchells

             they have breached the covenant of good faith and fair dealing.



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                    COUNT V: Violations of the Tennessee Consumer Protection Act

          110.      The allegations of all other paragraphs and claims in this pleading are

                incorporated as if fully rewritten herein.

          111.      Defendant BANA concealed and failed to disclose to the Plaintiffs that they were

                apparently acting as servicer for a mortgage-backed security pool of investors, that

            had significant financial disincentives or prohibitions from modifying or converting

            the Mitchells' loan to a fully amortizing loan and, therefore, had no incentive to

            cooperate with Mr. Mitchell's attempts to get a loan modification.

         112.      The actions described above are in direct contravention of Tenn. Code Anna 47-

                l 8-104(14), which prohibits "causing confusion or misunderstanding with respect to

            the authority of a salesperson, representative; or agent to negotiate the final terms of a

            consumer transaction".

         113.      These Defendants' acts, policies, and practices constitute unfair or deceptive acts

            or practices affecting the conduct of trade or commerce and violate the Tennessee

            Consumer Protection Act.

         114.      Defendants' violation of the Tennessee Consumer Protection Act was willful and

            knowing.

                      COUNT          Fair Debt Collection Practices Act Violation

         115.      The allegations of all other paragraphs and claims in this pleading are

            incorporated as iffully rewritten herein.

         116.      Because Recontrust began to service the loan at a time it was in alleged default and

            the transfer of servicing rights was done to facilitate collection of the indebtedness, it is

            covered by the provisions of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

           seq

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           17.    R-econtrust's failure to suspend collection efforts, including initiation of foreclosure

              proceedings without having conducted an investigation of the validity and amount of the

              debt constitutes a violation of the Fair Debt Collection Practices Act.

          118.    Recontrust's failure to provide validation of the amount of the debt and other

              information requested on behalf of Ms. Caldwell constitute a violation of the Fair Debt

              Collection Practices Act.



                 WHEREFORE,PREMISES CONSIDERED,THE PLAINTIFFS PRAY:

          I.That a temporary restraining order be issued prohibiting any and all of the Defendants,

          their employees, agents, successors and/or assigns from proceeding with a scheduled

         foreclosure sale of the property located at 9375 Zachariah Cove in Memphis, Shelby

          County, Tennessee.

         2. That proper service issue and be served upon the Defendants requiring them to answer

          this Complaint and Petition.

         3. That the Court issue a Temporary Injunction prohibiting any and all of the

         Defendants, their employees, agents, successors and/or assigns from proceeding with a

         scheduled foreclosure sale of the property located at 9375 Zachariah Cove in Memphis,

         Shelby County, Tennessee until a trial on the merits ofthe claims raised in this action.

         4. That the Court enter an order rescinding the Promissory Note and Deed of Trust

         executed by the Plaintiff regarding the property in question in Decernber of 2004 and

         requiring the plaintiff to make restitution of the loan proceeds, with credit for all

         payments made toward restitution of the principal indebtedness.

         5. That the Court enterjudgment against Defendants BANA and Shellpoint and in favor

         ofPlaintiffs for damages for breach of contract.

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          8. That the Court enter judgment aninst Defendants BANA and Shellpoint and in favor

          of Plaintiffs for breach of the covenant of good faith and fair dealing in carrying out the

          contractual servicing duties associated with the loan agreement.

          9. That the Court enter a judgment against Defendant Baal: of New York Mellon and in

          favor ofPlaintiffs for damages resulting from their failure to provide the notification

          required by the Truth-in-Lending Act and Regulation Z promulgated pursuant thereto,

          including attorney fees.

          10. That the Court enter judgment;including treble damaites, against Defendants BANA

          and in favor of Plaintifffor willful violation ofthe Tennessee Consumer Protection Act.

          11, That the Plaintiff be awarded all costs and expenses, including attorney fees, incurred

         as a result of this action, pursuant to Tenn. Code Ann. §47-18-101 el seq.

          12. That the Plaintiffs be awarded all costs and expenses, including attorney fees,

         incurred as a result of this action, pursuant to 15 U.S.C. §1692, el seq.

          10. For such other and further relief as to which the Plaintiffs may be entitled.

                                                Respectfully Submitted,

                                                Brewer & Barlow PLC

                                                133
                                                       Webb Brewer(B.P.R. No. 9030)
                                                      Steven E. Barlow (B.P.R. No. 023498)
                                                      Attorneys for Plaintiff
                                                      1755 Kirby Parkway, Suite 110
                                                      Memphis, TN 38120
                                                      (901) 757-3360
                                                      (901) 757-3361 (fax)




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                                               AFFIDAVIT

     STATE OF TENNESSEE
     COUNTY OF SHELBY

            I, Marvell Mitchell, having been duly sworn, state as follows:

            1. I have reviewed the allegations ofthe Petition and Complaint and they are true and

     correct to the best of my knowledge, information and belief.

            FURTHER,AFFIANT SA YETH NOT.




                      Sworn and subscribed to before me this •            day of              2014.



                                                                 OTARY PUBLIC

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     My Commission Expires:            dION,             oq.,97.1-zu%
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                                                                    EXPIRES:
                                                       SaPtember 21,2016




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                                                    FIAT

      TO THE CLERK OF THIS COURT:

             Please issue the Temporary Restraining Order as prayed for in the attached Complaint

      prohibiting the Defendants from going forward with a scheduled foreclosure sale on the property

      at 9375 Zachariah Cove. in Memphis, Tennessee and set the matter ofa temporary injunction for
                    .Th Li)
      hearing on the        day ofID-Q,(/, 2014 at /CO o' clock pm• p.m./a.m.


     Bond is set at     S


                                                                 kiilo1/4A-1-ty-
          ATRUE      COPY-ATTEST                                CHANCELLOR
           Donna L. Russell, Cler & Master
                                                                Date:                 ,2014
           By( \,--A-N\
                  J                     D.C. & M.
                            j
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                         F,XI lIBIT
         Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 24 of 61                                                                                 PageID 31




          14IN : 100075120040058228                                                               Loan Number: 2004005822

                                   InterestOnly ADJUSTABLE RATE NOTE
                                 (One-Year LIBOR Index (As Published in 7hc 116/1 Strect )oimal). Rate Caps)


                    THIS NOTE CONTAINS PROVISIONS ALLOWING FOR A CHANGE IN MY AXED INTEREST RATE
                    TO AN ADJUSTABLE INTEREST RATE AND FOR CHANGES 1N MY MONTHLY pAYMENT. THIS
                    NOTE LIMITS THE AMOUNT MY ADJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE
                    TIME AND'THE MAXIMUM RATE I MUST PAY.


                   DECEMBER 31, 2004                                   NORCROSS                                          GEORGIA
                       Watet                                             fowl                                               Ismael

                                9375 ZACRARIAH COVE, MEMPHIS, TENNESSEE 38133.
                                                   'Property Addre.1

              1.BORROWER'S PROMISE TO PAY
                In return for a loan that I have received,Iptcunise to pay U.S. $ 611,000.00 (this ammutt is called "Principal"),
          plus interest. 1n the order of Lender. The Lender         AME FINANCIAL CORPORATION , A GEORGIA
          CORPORATION
          I wilt make all payments under this Note in the form of resit, check or money order.
                I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is
          entitled to receive payments under this Nett: is relict! the "Note Holder."

          2.   INTEREST
               Interest will be charged on unpaid principal until the full amount of Principal has been paid. 1 will pay interest at a
          yearly rate of     5.375 %.Tlie interest rate I will pay may change lit accordance witlt Section 4 of this Note,
               The Interest rate required by flits Section 2 and Section 4 of this Note Is the rate 1 will pay both before and after any
          default described in Section 7(B) of this Note.

          3.    PAYMENTS
               (A)Time and Place of Payments
                I will make a payment on the first day of every month, beginning on MARCH 1, 2005                        . Before the First
          Principal and Interest Payment Doe pate as described in Section 4 of this Note, my payment will consist only or the interest
          due oft the unpaid principal balance of this Note. Thereafter, I will pay principal and Interest by making a payment every
          month as provided below,
                 I will make my monthly payments or principal and interest beginning on the First Principal and Interest Payment Due
          Date as described in Section 4 of this Nine. I will make these payments every month until] have paid ail of the principal and
          interest and any other charges described below that I may owe under this Note. Each monthly payment will be applied as of its
          scheduled doe date, and if the payment includes both principal anti Interest, it will be applied to-interest before Principal. If.
          on FEBRUARY 1, 2035                       . I still owe amounts under this Nett, I will pay those amounts in full on that date,
          which is called the"Maturity Date."
                   will make my monthly payments at 4036 WETHERBIJRN WAY, NORCROSS, GEORGIA 30092

          or at a different place If required by the Note Holder.
               (3) Amount of My Initial Monthly Payments
                My monthly payment wilt be to the amount of U.S. S 2,736.77                     before the First Principal and Interest
          Payment Due Date, anti thereafter will be in an amount sufficient to repay the principal and Interest at the rate determined as
          described in Section 4 of this Note in substantially equal installments by the Maturity Date. The Note Holder will notify me
          prior to the date orchange in monthly payment,
               (C) Monthly Payment Changes
                Changes in my monthly payment will reflect changes In the unpaid principal of illy lean and In the Interest rate that l
          must pay, The Note Holder will determine my new interest rate and the changed amount of Illy monthly payment in
          accordance with Section 4 or 5 of this Note.

          4.     ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANCES
               (A)Change Dates
                The initial fixed interest rate I will pay will change to an adjustable interest rate on the first day of FEBRUARY,
         203.5                               and the adjustable interest rate I will pay my change on that day every 12th month thereafter.
         'Ile date on which my initial fixed interest rate changes to an adjustable interest rate, and each date on which my adjustable
         interest rate could change, is caned a "Change Date."
               (B)The Index
                Beginning with the first Change Dam, my adjustable interest rate will be based on an index. The "Index" is lire average
         of interbank offered rates for nnelear U.S. dollar.denominated deposits In the London market             (LIBOR), as published in Mc
          llIiII Serene Joisoinl. The most recent Index figure available as of the date 45 days before each Change Date IS tailed
                                                                                                                                           the
         "Current Index."                                                                                             •
                If the Index is no longer available. the Note Holder will choose a new index that is based upon comparable
                                                                                                                                  information,
         The Note Holder will give ire notice of this cholce.
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            (C.) Calculation of Changes
            Edon cacti Change Dale, the Note Holder will calculate my new Mimes' rune by adding TWO AND 250/3000
                                             percentage points( 2.250 %) to, the Current Index. The Note Holder will then
       round the result of this addition to the nearest one-eighili of one percentage point (0.125%). Subject to the limits stated in
       Section 4(0) below, this rounded amount will be my now interest rate until the :text Change Date.
             The Note Holder will then determine the amount of the monthly payment that would be sufficient to repay the unpaid
       principal that 1 ant expected to owe at the Change Dale in full on the Maturity Date at my new interest rate in substantially
       equal payments. The result of ibis calculation will be the new amount of my monthly payment.
            (D) Limits on iniere,st Rule Changes
             The interest rate I am required to pay at the first Change Dale will 1101 LTC greater than 10.375 % at less than
          2. 250 %. Thereafter, my adjustable interest rate will never Ire increased or decreased on any single Change Date by
       more than two percentage points from the rate of interest I have been paying for the preceding 12 months. My interest rate
       will never be greater than 10.375 %,
            (E)Effective Date of Changes
             My new interest raie will become effective on each Change Date. 1 will pay the amount of my new monthly payment
       beginning on the first monthly payment time afier the Change Date until the amount of my monthly payment changes again.
            (F)Notice of Changes
             afore the effective date of any change in my interest rate and/or monthly payment, the Note Holder will deliver or mail
       to me a notice of such change. The notice will include information required by law to be given to me and also the title and
       telephone number of a person who will answer any question I may have regarding the notice.
            (G)Date of First Principal and interest Puyment
             The date of my first payment consisting of bath principal and interest on this Note (the "First Principal and Interest
       Payment Due Date") shall be the first monthly payment (late after the first Change Date.

       S. BORROWER'S RIGHT TO PREPAY
            I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as
       a "Prepayment." When 1 make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may nal designate a
       payment as a Prepayment If I have not made all the monthly payments due tinder this Nom.
            I may make a fall Prepayment or partial Prepaymetus without paying any Prepayment charge. The Note Holder will use
       my Prepayments to reduce the Z1110001 of PO1101111 that I owe under this Note. However, the Note Holder may apply my
       Prepayment to the accrued and unpaid interest on the Prepayment amount before applying my Prepayment to reduce the
       Principal amount of the Note. If I make 3 partial Prepayment. there will be no changes in the due date of my monthly
       payments unless the Note Holder agrees in writing to those changes. if the partial Prepayment is made during the period when
       my monthly payments consist only of interest, the amount of the monthly payment will decrease for the remainder of the term
       when my payments consist of only interest. If the partial Prepayment is made daring the period when my payments consist of
       principal and interest, my partial Prepayment may reduce the amount of my manthly payments after the first Change Date
       following my partial Prepayment. However, any reduction due to my partial, Prepayment may he offset by an interest rate
       increase..

        G.    LOAN CHARGES
              If a law, which applies to this Man and which sets maximum loan charges, is finally Interpreted so that the Interest or
        other loan charges collected or to be collected in connection with this loan exceed (be permitted limits, then: (a) any such loan
        charge shall be reduced by lite amount necessary to reduce the charge to the permitted limit; and (b) any sums already
        collected from me that exceeded permitted limits will be refunded to me. The Note tickler may choose to make this refund by
        reducing the Principal I owe under this Note or by making a direct payment to me. if a refund reduces Principal. the reduction
        will be treated as a partial Prepayment.

        7,    BORROWER'S FAILURE To PAY AS REQUIRED
             (A)Late Charges for Overdue Payments
              Jr the Note Holder has not received the full amount of any monthly payment by the end of 3.5
        calendar days after lire date it is tint, 1 will pay a late charge to the Note Holder. The nntatint of the charge will be
            5 000 % of my overdue payment of interest, during the period when my payment is interest only. and of principal and
        interest thereafter. I will pay this late charge promptly but only once on each late Priem..
             (B)Default
              ir I do nal pay the full anunint of each twattnily payment nu the date it is due. I will be in default.
             (C)Notice of Default
              If I ant in, default. the Note Holder may send me a written Make telling me that If I do not pay the overdue amount by a
        certain date, the Note Holder may require Me 10 pay inunetlimely the full amount of Principal Mot WS not been paid and all
        the interest that I owe on that amount, That date must be at least 31) tlays after the date on which the notice is moiled to me or
        delivered by other means.
             (D)No Waiver By Note Holder
              Even ir, a( a time when I am in default, the Note Holder does not require me in pay immediately in full as described
        above, the Note Holder will still have the right to do so ICI ant in default at a later time.
             (II)Payment of Notc i told et'a Costs and Expenses
              if Me Note Holder has required me to pay immediately in full as described above. the Note Holder will have the right no
        be paid hack by me for all of its costs and expenses In enforcing !WS Note 10 the extent not prohibited by applicable law.
        Those expenses include. fur example, reasonable attorneys' ices.

             GIVING OF NOTICES
              Unless applicable law requires a different method. any notice that nutst be given 10 me ander this Note will be given by
        delivering It or by malting 11 by first class mall to me at the Properly Address above or at a different address it 1 give the Note
        Itchier a notice of nly different address.
        Com
          MULTISTATE InotAttrA*, AIMUSTAITLE RAU f101I - eere WAR tIBOU INDEX
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            'illless the Note Holder requires a different method, any notice that must be given to the Note Holder under. this Note
       whit be given by mailing it by first class mall to the Note Holder al the address stated in Seetion 3(A) above or at a different
       address if I ant given 3 notice of that different address.

       9,    OBLIGATIONS OF PERSONS UNDER THIS NOTE
             If ;nom than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
       this Note, imitating the promise to pay the fun amount owed. Any person who is a guarantor. surety or endorser of this Note
       is also obligated to du these things. Any person who takes over these obligations, including the obligations of a guarantor.
       surely or endorser of this Note, is also obligated to keep all of the promises made in ibis Note. The Note Holder may enforce
       its rights under this Note against each person individually or against all of us together. This means that any one of us may be
       required to pay all or the BIMOUBIS owed under this Note.

        10. WAIVERS
              I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
        "Presentment' means the right to require the Note Holder to demand payment or amounts due. "Notice or Dishonor" means
        the right to require the Nose Holder to give notice to other persons Mai amounts due have not been paid.

        11. UNIFORM SECURED NOTE
             This Note is a uniform instrument with Bolted variations itt some jurisdictions. 1st addition to the protections given to
        the Note Holder under this Nate, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"), dated the same
        date as this Note. protects the Note Holder front possible losses that might resell lr i do not keep the promises that 1 make in
        this Note. That Security lustrumeet describes how and tinder what conditions i may be required to make immediate payment
        in ton of all enemas 1 owe tinder this Note. Some of those conditions read as follows:

            (A) Until my initial fixed interest rate changes in an adjustable interest rase under the terms stated in Section 4 above,
        Unifurns Covenant 18 of the Security Instrument shall read as follows*.

                   Transfer of the Property or a Beneficial Interest its Borrower. As used in this Section 12, "interest in the
             Property" means any legal or beneficial interest In the Property, including, but not limited to, those beneficial
             interests transferred in a bond for deed, contract for deed, ittetallmeitt sales contract or escrow agreement, the wen(
             of which is the transfer of title by Burrower at a future date to 3 purchaser.
                   If all or any part of the Property or any interest in it is sold or transferred (or if Borrower is not a natural
             person and a beneficial interest its Borrower is sold or transferred) without Lender's prior svrtuen consent, Lender
             may, at Its option. require immediate payment in full or all sums secured by this Security Instrument. However, this
             option shall not be exercised by Lender if exercise is prohibited by Applicable Law,
                   if Leader exercises this option. Lender Shall give Borrower notice of acceleration. The notice shall pruvide a
             period of not less than 30 days from the date the notice Is given in accordance with Section 15 within which
             Borrower must pay all sums seamed by this Security Instrument. if Borrower fails to pay these stuns prior to the
             expiration of this period, Leader may invoke any remedies permitted by this Security Instrument without further
             notice or demand on Burrower.

            (B) When my Initial fixed interest rate changes to an at        interest rate muter the terms stated in Section 4 above,
        Uniform Covenant la of the Security Instrument described in Section 11(A) above shall then cease in be in effect, and
        Uniform Covenant 18 of the Security Immanent shall instead read es follows:

                    Transfer of the Property or a Beneficial interest in Borrower, As used in this Section 18, Interest In the
             Property" means any /eget or beneficial Interest In the Property, Including, but not limited to, those beneficial
             interests transferred in a hood for deed, contract for deed. instellment sales contract or escrow agreement, the intent
             of which Is the transfer of tale by Borrower 31 a future date to a purchaser,
                    if ail or any part of the Property or any Interest iti the Property is sold or transferred (or If Borrower is not a
             natural person and a beneficial ituerest in Borrower is sold or transferred) without Lender's prior written column,
             Lender may require inunediate payment its full of all sums secured by this Security Instrument. However, this
             option shall not be exercised by Lender If such exercise is prohibited by Applicable Law. Lender Also shall not
             exercise this option if: (a) Borrower causes to he submitted to Lender information required by Lender 10 velem
             the intended transferee as if a 13CW loan were being matte to the transferee, and Rd Lender reasonably determines
             that Lender's security will nut be imitable] by the loan DSS11111,110011 and that the risk of a breach of any covenant or
             agreement in this Seenrity Instrument is acceptable to Lender.
                    To the extent permitted by Applicable Low, Lender may charge a reasonable fee as a condition tu Lender's
             consent to the loan assumption. Lender may also require the transferee to sign an assumption agreement that is
             acceptable to Lender and that nbligates the transferee lo keep all the promises and agreements made in the Note and
             ill this Security Instrument. Borrower will continue to be obligated under the Note and this Security Instrument
             unless Lender releases Borrower In writing.
                    If Lender exercises the option to require immediate payment in full, Lender shall glve Borrower notice of
             acceleration. The notice shall provides period of not less titan 30 days from the date Ilse notice is given in
             accordance aids Section 15 within which Borrower must pay all sums secured by this Security fostruntent, If
             Burfowerlfdileya pay these sums prior to the expindlen of this period, Leader may invoke any remedies permitted
             by,,filisIStilyalastrument
                         eur                without further notice or demand on 1.1orrowe r•,•




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       WITNESS THE MANIAS) AND SEAL(S) OF THE UNDERSIGNED,




                                                                                                                                            (Seal)
                                                                   MARVELL R MITotIE'LL,                                                 •Borrower


                                                                                                                                           (Seal)
                                                                                                                                         •Borrower


                                                                                                                                           (Seal)
                                                                                                                                         •Borrower


                                                                                                                                            (Seal)
                                                                                                                                         -Borrower


                                                                                                                         (Sign Original Only)




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DATE:DECEMBER 31 , 2009
BORROWER:MARVELI R MITCHELL
CASE if:
LOAN #12009005822
PROPERTY ADDRESS: 9375 ZACHARTAII COVE, MEMPHIS, TENNESSEE                                                                               38133

  NON-CONFORMING AND NONCONFORMING EXPANDED CRITERIA "INTEREST ONtY" FIXED PERIOD LIBOR ARMS
  This disclosure describes the features of an Adjustable Rate Mortgage (ARM) program you are consederiteg. Information about our other ARM
  programs with be provided upon vaguest.
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                                                     :nr.V;'.HOW YOUR /NTOirT RATE AND PAYMOM ARE DETERMINED wt., vAt:....-7Eax.ry..-....-....                      ,-,1-1.;'4, .. : ,,,,, ,  e.
  o After the first throe five, seven or ton years of your loon, as applicable, your interest rate will he based an en Index rote plus a margin. Please
     ask us for our current interest rates and margins.
  s The -index" is the average of interbank offered rates for cute-year 0,5. dollar-denominated deposits In tne London market ("LIBOR"), as
     published in Toe Vgerf Street Journal.
  a, Your initial interest rare is not based on the index ,sad to make later adjustments. 11 the imilat interest rate is below MU .UM Or the then-current
     index plus margin title 'fully indexed rate"), then the inlaid interest rate will be e "discounted" interest rate. 11 the Initial interest rate is above
     the rutty indexed rata. Men it will he a "premium" interest rate. Please oak US for the amount of ore current intereat rate discounts and
     premiums.
  * For the fast throe. five, Seven or ten years et your loan, as applicable, your payment will be based on the interest rate, Man balance, and
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                                                    taxpok -4>..ko:•,,,
                                                                     ,                 , :.S....or How .Yout Interest Rule t.,an.Change....,,,a*,,
                                                                        fftn.krok ..et.,                                                               !...,,,,,,,,,,,,,,,,,,,,,,,,,;;.... ,:
 Your interest rata can change:                After 3 years and                 After 5 yews and annually            After 7 years and                    After 10 years and
                                               annually thereafter.              theteefter,                          annually thereafter.                 an      thereattet.
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                                  X:                    , ,e1..3:.*,..447,,i ,:..r,!..v..fiew, isur•Fayilteni Can nanflrhpro-i.r ...,.:' 4f.er.v.lrYte.-1...;.er.ter:1':',X,
 Each time your interest rate a Your interest rate will s Your interest rata will be * Yam Intro-ea tate Will be s Your interest rata will be
 changes; the taw interest rate    be: rounded to the                   rounded to the nearest              rounded to the nearest          rounded lb the nearest
 wilt equal the trim of me irides  narcst 1/8%.                         1/896.                              118%,                           1/8%.
 plus the margin, subject to the
 following limits;                •On     the    last    change       a On    the  first change  slate.  •DP   the fast change date.     •  On the last change data.
                                   date. yet/f hiletP5l rale            your interest rate can              your Interest rate can          your interest rate can
                                   Can        increase          Or      increase or decrease by            erten:ow or decrease by          IPCIDASC or decfaase by
                                   d•CrBaSa by 2.0%.                    5.0%.                               6.0%.                           5.0%.
                                               *On each subsequent *On each subsemuutt •On each subsequent •On each subsequent
                                                change date, your     change    date,  your change     date,  your change     data.   your
                                                tmettat rate win not  interest IMO win not  interest rate will not interest rate will not
                                                increase by mote than increase by more teen increase by mote trtan increase by more than
                                                2.0%.                 2.01k.                2.0%.                  3.0%.
                                              *Yaw interest rate will *Your Interest rote will *Your Interest rate will •Your interest rate will
                                               not increase by more     not increase by more     not increase by more      not Increase Dy more
                                               than 6.0% Over curt life than 6.0% ova; the lite  than 5.091. over the life Man 5,0% Over the life
                                             • of your loan.            or your loan.            Or your loan.             of your loan.
 Your monthly payments      Wilt For the first 3 yews of For the first 5 years of For the first 7 years of for the first 10 years Of
 cover interest only:            your loan.                  you loan.                   your loan,                   yaw leen.
 If you make voluntary p
                       .riocipal Your required interest only payment welt be reduand to retool the oecreast in your loan amount.
 payments during the ratorost
 orgy period:
 Your monthly           payments        Can Each time the interest rate changes and can increase or decrease substantially beset: on the changes in the
 change:                                    interest rata.
 For rho first 3, 5. 7 or 10 years of your loan. as applicable, your regular monthly payments will not reduce your loan balance. Atter this initial
 interest-only period. your monthly payments will beget to toonee your loan balance. This means that your payments could increase substantially
 when the untrest•orsty period ends. even it your interest nee stays this SUMO Or goes down.
  YOU will be notified in writing:             At teat 25, but no more than 120 days_ before the due date 01 a payment at a new level. This notice will
                                               contain intormageo about the index. your inlareSI rates, payment amount, and loan balanee.
                                               The examines below Illustrate interest rate and payment Changes based on a 010,000. 30.year loan using an
                                               initial interest rate in effect on the first business day of January, 2004 and assuming the maximum periodic
                                               IncealtSes in rates and payments.
                                                          rti:a.lipEXaMplett'01 laorts'whn a discounted federal rate (below SUrnfolgAdeX.Ond Margirds.h)li.f.:ki44:4Afe
                                               1.ittttf•CD.
  bikini Interest Rata                                       3.25 15                         N/A %                        N/A IL                       N/A 91.
  Maximum Interest Rate                                      9.25 %                          Nr/A %                       11/A%                        NIA%
  flo st Veer Payment                            $          27.06                S           N/A              $           WA              $            N/A
  Maximum payment                               5         83.02                     5            N/A                     $            NIA                    $            41/A
                                                      in the 6111 year                   in tho gth year                      in the 0111 year                    in ine 11th year
                                               ../.,:.,".f.;:ft,trtafxstlEestrrilateS of loarta.wIth a premiumeinterestattle (above SUM 01.100X and margin)y..:yy,-,,,g6:,7„y,6,.;
 Initial Interest Rate                                          4,125 %                                 5%                      5.125%                      5.25%
 Maximum Interest Rate                                         10.125 %                               10 %                     10.125%                     10.25%
 Fast Year Payment                                 S            34.37                      S      41.66                5        42.71             5        43,75
 Maximum payment                                  $             89.32                     1       00.07                         03.5a             s        08.16
                                                                                                                       s
                                                        in the 6th year                       in the 6tir year             in the 8th year           in the 11th year
 Note to see what your,payment would be, divide your mortgage anIOUril by 510,000; Men MillliPlY tlw monthly PeYrnen,by that amoral. For
 eza pie, tho monthly payment for a 560.000 3/1 ARM with a premium interest rate wort d be: 580,000/ 510,000 * 6: 6 X 534.37 * $206.22.
                          // .1.! r*.                   /     I :

                                       :41      3                       /a o
MAR FALL R MITChELL                                                                  tali                                                                                             Dale
Applicant                                                                                           Applicant



                                                                                     Date                                                                                             Date
Applicant                                                                                           Applicant



Co".
•Po.,•••C••••••• Mertes. Only roes tams AIM
FE-4264 UMW




                                                                                                                             1111 I I I111111111111 I 111111111 1)111111 11E11 111111 III 111
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 29 of 61   PageID 36




                        EXHIBIT B
      Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 30 of 61                                                                                                             PageID 37


                                   741)g*AV..!gQ113.-11.171,ENDING DISCLOSURE §-IA-I-6141 NT
                                       ;(;leis is•'NEr
                                                   .,  •AfilE 'CONTRACT NOli A COhltviird ENT TO LEND)

Loan Number. 2004 DO5a22                                                                                                          DECEMBER 33., 2004
Creditor: AME FINANCIAL CORPORATION
Address: 4036WETHERSURN WAY , NORCROSS , GEORGIA 30092

Borroweels): MARVELL R MITCHELL

Address: 9375 ZACHARIAH COVE, MEMPHIS, TENNESSEE 38133

Lines containing an "x" are applicable:

 ANNUAL                            FINANCE                                 Amount                               Total of                         0 Total Sale
 PERCENTAGE                        CHARGE                                  Financed                             PllyIlltnts                        Price
 RATE
 Tht coo or your(1 Oil as          Tiro duller mow,the                     111.c autuum of etc& provitint                         illeterkl cum of you,
                                                                                                                Ike ououni you Alt lure
.yady MU                           coatil will earl you.                   ar you or au your IKAstr.                              Inutilese an 4001011 inch/aim
                                                                                                                paid ehrr yea Save Admit 4
                                                                                                                                  your slowtuparnott et
                                                                                                                ptyultutt as schttlultd.
                                                                                                                                  $
       5.206                ''     s         670,604.09 s                             605,430.12 1                   1,2/6,034.21 1
 PA YNIENTS: Your payment selindula WEI be:
 Number, or   A.eut or        When Fayoulut                   Numht.r or          Ann.,of   Ware l'epoto                     i Number of     AM.'01          IVIAA Payrnetet
 Plytueet$    Ptyttu-tu ••    Am Out                          Pay tunas           Payment•'Alt Oa                             PayPteriet     Proyrllsor ••   Arc I:/ut

                                          AleadMy lUtieats,                                                 undoy bti6.1.1                                       any/WAD*,

120                  2,736,77            03/01/05
239                  3,948.43            03/01/15
  1                  3,947.04            02/01/35




                                                                                                                                                                          ..i.t.




         PEMAND FEATURE: Ttlis obligation has a demand (alum.
    X , VARIABLE RATE FEATURE: Your loan contains a variable rate feature. Disclosures about the variable rate feature have been provided Ih you earlier.




 INSURANCE: The foIlowing insurance Is required to obtain credit:
                            Credit life Insurance anti credit disability      Xk Property Insurance                   ,Pkrod Insurance .._ Private McMinn limtrante
                    You may obtain properly Insurance from any insurer dun is accernabletutbe Lender.
  SECURITY: You are giving a security interest in: 9375 ZAGIARIAH COVE, MEMPHIS, TENNESSEE 38133
                    „__Tine poet Of property being ptudtesetl                  IReel prepay you VIWAdy WW1.
  PILING FEES: S
  LATE cliARDE: tt payment IS more iltatt                 15               ,lays laic. you will be cliurgell ___9., 000                    % of the payment.
 PREPAYMESIT: tr yam ,ray MTT early, you
  — may             _X__ wilt not          ban to pay a pally.
         ,rap       _X.__ wilt our         be entitled to a refund of part °Elbe finance charge.
  ASSUMPTION: Sonvone buying your ProPer'Y
  _ may             _____. naytObjCCi 00 COALUWAri             ___X___ 1112y tun        *taunts WC rtrIA11/11.1Ct 0f you: luau on die original terms.
 Sec your tontncl documents for any additional infornraiinn about nonp ayment. debutit. soy sequined repayliwas in Cull before Me fekeduled Jam IttligePaYinent rebords
 and penalties.
 ....X__ ''e.means an C511111111t      _____ All dittS and minterical disclosures except the /ate payment disclosures arc estimates.

          Edit of the undersinn      knowledge receipt of s complete copy of rbis disclosure. Tl,s disclosure duos not CuOilllule a outrast 01.CWAHWW001 W lend.



  /1,11\k,
Apollo                      R MI                                                                   1A 0W11
                                                                                                   -                                                                           Date


'Appricsm                                                                         hate.             Appaca‘u                                                                   15eie


Applicant                                                                         hum              Apphcant                                                                    Dale
” NOTE: Payments shown above do not include tome depcniis for WM.assessments. and property err nom Insurance.

FEDERAL TRUTH•IN-LENDING DISCLOSURE STATEMENT

                                                                                                                      milmlumniaiTlaihr
     Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 31 of 61                                                                 PageID 38



  Lettiler: P_ME FINANCIAL •COiiic:Ittts;rxedri                A GEORGIA :03Rpc>0.2014 -
            40366 WETHERBURN WAY
            NORCROSS, GEORGIA , 3 pap2

          9375 ZAC14ARIAli COVE.
  Re: MARVELL V.            MITCHELL

          MEMPHIS, TENNESSEE 38133

  Date: DECEMBER 31, 2004
  Loan Number: 2004005822




    kg t 100.1                                          ITEMIZATION OF AMOUNT FINANCED
    SiMmWal

                   . Amount given   10   you directly                                                             605,322.12

                   . Amount paid on your account
    1001              Insurance Reserves
    1004       •      Tax Reserves
                      Other Reserves
    1009              Aggregate Adjustment                                                        0.00
                   • Amount paid to others on your behalf:
    803                Appraisal Fee
    804                Credit Reporting Fee to: Lender                                           65.00
    903                Hazard Insurance Premium
   809                 Document Preparation Fee to: Lender                                       25.00
    1106               Notary Fee
    1108              Title Ins. Premium
    1201               Recording Fee
                        MOO CERT 70 APE FOR 1ST AMERICAN to: Lender                              18.00




                      Loan Proceeds to:


                   . AMOUNT FINANCED                                                                        S     605,430.32
                     Prepaid Finance Charge                                                                         5,569.88
                      Itemization of Prepaid Finance Charge:                                • Loan Amount S        611,000.00
   801                Loan Origination Fee                      S
   802                Loan DISC0911t Fee
   806                Tax Service FeeCo: Lender                                   82.00
                      Prepaid interest( 26       Jays)
    901               Ca            5.375 %per annum                        2,339.38
    902               tvitge. Ins. Premium
    1002              Pltge. Ins. Reserves                                                     This form does not cover nil items
    806               Origination Fee                                                          you will he required to pay in cash
                      ADMIN FEE DUE AhlE to: Lender                           376.00           at settlement, for csentple, deposits
                               1
                      TRANSACTION FEE tO: Lender
                      D3:1113114.1VER FMELEEFCKER to: Letr6r
                      ATIORNEY ,     1 81. Co: Service Provider
                                                                              150.00
                                                                            1,527.50
                                                                              600.00
                                                                                               in escrow for real estate taxes and
                                                                                               insurance may be different. You
                                                                                               mny wish šo inquire as to the
                      DELIVERY FEE WEANE to: Lender                           100.00           amounts of such other items. You
                      PROCESSING FEE TO tO: Lender                            395.00           may be required to pay other
                                                                                               additional atnounts to be settled.
                                                                                               ❑ All disclosures are esiltnaies

                   Total 'repaid Finance Charge                                  5,569.88
  Tice olerstgned acknow mist receiving and readiug x completed ropy of this disclosure.



'- arkowq..IMARvEL'i,       A- MITCHELL
                                                            t 131 -1 IDI
                                                                it)aic)    180truwar)                                            (Date)

  (sorroVied                                                    inate)     (Burrowed                                             (Pate)

   Mormwed                                                     (Dec)       (florrowed                                            (Date)

  GOOD FAITH ESTIMATE OF SEMEMENT CHARM
MA.1.41.
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 32 of 61   PageID 39
       Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 33 of 61                                                                                                                                 PageID 40

         1 of
                          Bank of Arreerica                                                     CUFLoincr
                                                                                                                                                                                       11 ale 03/23/2012
                                                                                                 F5,.1,};0e: 31 ?1)                                                       Account Number 01.00!856
                                                                                                $/.1111. Valley. 14A:630.82-511tf.                                        f/Aperty aOciress
                                Home '.amts



                                          0005 534 01 AT 0-371          —AUTO 17 1 247 3013.1-0070
                                          PO %W AG 014       -0-2-S. COOCCO1 1 15 1 P055.3S
                                          MARL/ELL R MITCHELL
                                          9375 Zachariah Cv
                                          Memphis TN 38133-0970



                                          1111114thiplflintql1ITIPtIllpiglillh1111111111491111


                                                                                                                                                                          FOR CUSTOMER SERVICE:1.800.069.6607




     IMPORTANT MESSAGE ABOUT YOUR LOAN
     Enclosed is an escrow analysis for your loan.The purpose of this notification is to advise you that the escrow portion of your
     payment is changing to 51,532.25 effective 05/2012.



I    WHAT THIS MEANS
     This notification is for informational purposes only. Your next billing statement will arrive shortly. lt will provide payment coupons
     for each of your available payment amounts (if applicable} and will include the new escrow payment amount of $1,532,25.


     WHAT YOU NEED TO DO
     Please keep this notification for your records.


I ACCOUNT ACTIVITY
                                                                                                                                                                                                 Other
Date        Description                                             Interest                                                         Escrow                                                  Unopened      Total
02/29/2012 Misc posting                                                                                                                                                                         •132.69 -132.59
03/0112012 January payment                                           4647.04                                                      1532,27                                                            .69 4,180.00
03/02/2012 Misc posting                                                                                                               .69                                                           -.69
          "ending balance                       5590,967.46                                                                   -523.954.51
4-TiOns:The aulioa oattoteo 1e probably cot the stotte ts the otoeuel to payoff your loon. Foe payoff infommion. you may use our 24-kont tellismated inloretatioo:vim ot 1.1100.11110Sate,




    ci    Bank of America, N.A. Mernb sr FOIC.Equal housing Lender.0 2012 Bank of America Corporation.Tr emarks are the property of Bank of America Corporation, All righm
    twir, reserver!.

                           55055534 0013114
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 34 of 61          PageID 41


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       Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 35 of 61                                                                                          PageID 42

             orb      Bank of America                                                                    Account Number O798418.                    piament dace
                                                                                                        Property adoress                               p317.3/2012
                             "r17.7.7-                                                                  9375 Zechariah Cove
                           tterne Loans                                                                            Marvell hipenell
                       S CROW ACCOLIiIT REVIEW
             ESCROW           Part of your monthly loan payment goes into an account to pay for your property taxes and insurance premiums.flaring the year, payments are
              X P L A I N E D made out of this account when bills come due.This notice describes any changes needed in your monthly payment to maintain enough money in
                              your escrow account to pay Mese bills. In our step-by-step analysis, we determine the data shown below to calculate your new escrow payment;

                                See belew lor
                                •an in-depth explanation of each step of your escrow analysis          0 side-by-side comparison of last year's projected and actual data


        I    SUN1MARY
                                 Rase amount needed (sea Stec 1) The expected monthly amount needed to nay your aroneny taxes and insurance premiums
                                 Shortage payment(see Step 2)    The monthly amount you must pay into your escrow account to keep the balance from
                                                                                                                                                                             5989.98

                                                                 falling below zero during the year                                                                          S542.27
                                 Reserve requirement(see Step 3) The monthly amount allowed by federal law for unexpected lax and insurance increases
                                                                 and other costs                                                                                              50.00
                                 New monthly escrow payment(see Step 4)                                                                                                S1,53225
                                 New monthly home loan payment effective 05/2012 (see Sin 4)                                                                           S4,17929


             HOW WE CALCULATE YOUR ESCROW PAYMENT
             STEP I              Determine base amount needed for the year
                                 Escrow items                      Amount needed             Frenency in months Monthly amount needed
                                 County taxes                            S8,690.43                           12               5724.20
                                 City taxes                                3,189.35                          I?                 265.78
                                 Total monthly base payment amount                                                                                              S131111.98
             MP 2               Determine lowest projected balance
                                In the chart located below, we project the amounts you will pay into your escrow account next year and the amounts we will pay out for your
                                insurance and tax bilis. Remember,these figures are only projections and may not reilectihe actual payments made at the time they are due,
                                                            Escrow              Tax                Insurance          M1P/PM1
                                 Month                      deposit(s)          paymentis)        payments)           payments)                Balance
                                Beginning balance                                                                                           -519.357.70 D
                                May 2012                       989,98                                                                        -18,367.72
                                June 2012                      989.98                                                                        -17,377.74
                                July 2012                      989.98                                                                        -16,387.76
                                August 2012                    989.98                                                                        -15,397.78
                                September 2012                 989.98                                                                        -14.407.80
                                October 2012                   989.96                                                                        -13,417.82
                                November 2012                  989.98                                                                        -12,427.84
                                December 2012                  989.98             11,879,78                                                  -23,317,64
                                January 2013                   989.98                                                                        -22,327.66
                                February 2013                  989,98                                                                        -21.337.88
                                March 2013                     989.98                                                                        -20,347.70
                                Apri12013                      989.98                                                                        -19,357.72
                                Ending balance                                                                                             -519,397.72
                               Lowest projected balance                                                                                -SZ1.317.64
                               Shortage payment amount                                                                                     564227
                               • Lowest projected balance (LPB)
                               D-The letter(D)beside the escrow balance amount indicates that your mortgage payments are delinquent, and the
                               Beginning balance from Step 2 of HOW WE CALCULATE YOUR ESCROW PAYMENT will not match the Actual Ending
                               balance from the LAST YEAR IN REVIEW section.

 We may charge you a tee for any payment returned or rejected by your financial institution,
 subject In applicable law.

AYMENT INSTRUCTIONS                                  i Account number        079841856           (2)               Escrow shortage due       Jay 1,2012                  V3,317.64
 Please                                              1 Marvell R Mitchell
•don't send cash                                      9375 Zachariah Cove
•don't staple the check to the payment                Memphi5,TN 38133
 coupon                                                                                                                         I N/A
•dontinctude correspondence                                                                                vat
•include coupon with payment
                                                                             Bank of America, N.A.
                                                                             PO BOX 15222                                       I N/A
Write your account number an the
check or mane? otsitt.                                                       WILMINGTON,DE 19886-5222

 Write in any additional amounts you
                                  araICheck total
Including.
                                                               "iThlhirphillitlavflis10141044,1110"luill
 Make your check payable to
Bank of America, N.A.                                                       079841856205002331764002331764
Ann: Remittance Processing
PR Box 1$222
Wilmington,DE 13836.5222
                                                           i:586,3c L0021:07984 LBSETivi
                      0005534 C013715
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 36 of 61                                                                                         PageID 43


 t orb




             At the. time ofii,Mlysis;f3ank of America. N.A. assuums that all scheduled mortgage payments will be'node 10-ffinefRictive
             date .of your new oavmem.                                   •

             You, oi course, have the option to pay your anticipated shortage in full. ;See Step 4 for more information)
                             •
 STEP 3      Detertnine reserve requirement
             Federal law allows for the collection of a reserve ar1101101 10 maintain a cushion for unexpected lax and/or insurance increases and other costs.
            The reserve used for this period is shown below.
             Lowest projected balance (sea 518.0 2 above)                       -$2.3.317.64
            Total reserve requirement(00.0% of the base amount)                          .110
            Additional amounts required                                                  .00
             11/lombly reserve requitement 150.00 divided by 4.3)                                                                     50.00
             Available overage                                                        50.00
            'Base amount equals the total oi payments anticipated to be paid out of the escrow account during the year but excludes PMI/M119 amounts,

STEP 4       Determine monthly payments
             Calculation of monthly escrow payment
             Base amount needed for taxes and/or insurance (see Slept(                                                 S999.98
             Shortage payment (see Siep 21                                                                              542.27
             Reserve requirement (see Step 31                                                                              .00
             Total monthly escrow Dument                                                                                                               51532.20
              Calculation of monthly home loan payment
             Principal and/or interest                                                                           52,547.04
             Total monthly escrow payment                                                                          1.532.25




                                                                                                                                                                                  11II 1111 11111 11111 11111 11111 11111 1111I 111 1111111 IIIIU I
             Total monthly home loan payment effective 05/2012                                                                           54.17929
             11 you choose to pay your shonage in full. your payment will be reduced by the shonage amount of 554227,leaving ynu with a payment of
             53,037.02.


LAST YEAR
             Current analysis compared to previous                                                                      Monthly amount
IN REVIEW
             Amount needed far taxes and insurance                                                        Last analysis                       7ais analysis
             County taxes                                                                                    5724.20                             5724.20
             City taxes                                                                                       255.78                              285,78
             Total base escrow payment                                                                       8989.98                             S989.90
             Shortage payment                                                                                 542.29                              542.27
             Reserve requirement                                                                                 .00                                 .00
             Rounding amount                                                                                     .00                                 .00
             Monthly escrow payment                                                                        S133227                             01.53125
             Principal andior interest                                                                     82,547.04                           52,947.04
             Monthly escrow payment                                                                         1,513.27                            1,539.25
             Total payment amount                                                                          S4,17931                            54,179.29
            Summary of escrow change
            As shown,your base escrow amount remained the same. Your reserve percentage remained unchanged. Your reserve payment remained
            unchanged.The resuh of these issues caused your total escrow payment to decrease.Additionally, you were left with •a shortage.
            A side-by-side comparison of last year's projected escrow account activity and actual activity can be found below.




                                                                                                                   now wt oral yego payment: Ali atceptea pAyrnems oi principal a
                                                                                                                   interest vain be at/photo roe longest outstanding installment due,
                                                                                                                   unless omemioe mar=sly peed ims-6 or Muted wry law if you
                                                                                                                   submit an amount in addition to your scheduled monthly amount,.
                                                                                                                   will apoiy your payments ea follows: to otestandeng monthly
                                                                                                                   PaYalents 01,Mintiest' and inseicst.lin n2CrOW detitientiCr,OM le
                                                                                                                   charges and other emporia yoo owe in connection with your loan
                                                                                                                   link GO to reduce me outstanding onnCipal balance ut your loan.
                                                                                                                   Noose specify 11 you want an additional amount applies to lutute
                                                                                                                   Payments. tether mon principal reduction.
                                                                                                                   postdated checks will be processed an the Cate received wit= I'
                                                                                                                   foam couracia *gists to honor the date written tin the check as o
                                                                                                                   condition et a repayment plort. Nyman= by phone received by ax
                                                                                                                   PM Pacific Time on a business bay wilt be Oconee the same day
                                                                                                                   Payments try none received ohm P.CO PM Pacific Time Or on e
                                                                                                                   nontaziness OrryinoliCay will be applied to your account no later e
                                                                                                                   the next business day.
                                                                                                                   For all tub month oeyment peno&,interest is calculated on a
                                                                                                                   monthly nesie. Accordingly.interest tor all tall MOrra`4. including
                                                                                                                   February,is calmeated as 36/JSD al nnitutiinterelst, irrestreCtive
                                                                                                                   tne *oval trumpet of Guysin the month For partial months,imam
                                                                                                                   is calculated daily on the basis eta 365 day year.
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 37 of 61                                                                                            PageID 44

      .0tek of America

         Homo LoOil

            1.1s) year's escrow payments

            Projected                                                                        Actual
            Dare       Acrivay                      Paid in    Paid OUT      Balance          Bate        Acrivity                    Paid in     Paid oul        Balance
                        Beginning balance                                  •522-09520                    Beginning behove                                    -727,01.9.14
            02/01/201) Fee Payment                 1,532.27                 -22,422.33      02942012     Dec Payment               1532.27                    .25,487A)
            034314012 Mar Payment                  1532,27                  -20,830.86      03101/2012   Jan Payment               1532.27                    -23,950.20
            04/91/2012 Apr Payment                 1532.27                  -15,358.39      03102/2012   Mrs: posting                   .55                   -23.95451
            05/01/2012 May Payment                 1,532,27                 -17425.12       03/X32012    Feb Payment               1.532.2)                   •22,42221 P
            05/01/2012 Jun Payment                 1,532.27                 -10,253.85      03/23/2012   Mat Payment               1,532.27                   -201389.97 P
            07/01/2012 Jul Payment                 153227                   •14,701.58                   Ending balance                                      -S20,68997 D
            03/91/2012 Aug Payment                 I53227                   •13,229:31
            01/01/2012 Sep Payment                 1,53227                  -11,097.04
            10411/2012 Oct Payment                 1,532.27                 -10,154.17
            11/01/2012 Nov Payment                 1,5322)                   -8,532.50
            12/01/2012 Dec Payment                 1532.27                   .7,100.23
            12/02/2012 County cartes                           8,650,43     .15390.55
            1249212012 Gay:axes                                3,185.35     •18,080.01
            Olioinois Jan Payment                  1.532.27                 •17,447,74
                       Ending balance.                                     -S17.447.74

              Lowest projected balance
             D •The letter 10) beside the escrow balance amount indicates that your mongage payments are delinquent, and the Beginning balance nom Sten 2 of HOW WE
             CALCULATE YOUR ESCROW PAYMENT ‘antl not match the Actual Ending Balance from the LAST YEAR IN REVIEW section.

            P •The lute((Pi beside an amount intimates that the payment or disbursement nas notyet occurred but    estimated to occur as snown.

            At the time of analysis, Rank of America, N.A. assumes that ad scheduled mortgage payments will be mac to the effective date of your new payment.




       0305.C.34 001371;
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                                                                MAIM/A ARITIlt
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 39 of 61   PageID 46
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                    Torn Leatherwood, Shelby County Regisler of Deeds: Instr.# 050078P.O:




                              Tom Leatherwood
                                 Shelby County Register




       As evidenced by the instrument number shown below, this document
         has been recorded as a permanent record in the archives of the
                     Office of the Shelby County Register.




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                                       05007B96
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                               DAD      285665-500799f
                               VALE'S                               611000.00
                               PCYCZOADD TAI                           700.20
                               411Aa9re4 via                              0.00
                               RECORD[      1'L                           95.00
                               Dr rDe                                     2.40
                               RCCISTRA•S irt                              1.00
                               WALE   1050 010                            0.00
                               ratAL    AOUOJT                        790.35

                                          TO14 LEATHERWOOD
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           150 N. Main St., Suite 519 - Memphis, Tennessee 38103 — (901) 545-4366
                                    http://register.shelby.tn.us
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 41 of 61                                                                                       PageID 48

                                              Tom Loathamood, Shelby County Register or Deeds: instr. C 05007896


                                      Prepared by and returned tci:
                                       The Orange Law Firm, Pc
                                       6750 Poplar Avenue #419
                                          Memphis, TN 38139

                       Tols instritment Was Prepared By:




                       After Recording Return To:
                       AME FINANCIAL CORPORATION
                       4036 WETHERBURN WAY
                       NORCROSS, GEORGIA 30092
                       Loan NUrnber. 2004005822


                                                           !Space Above This Lim For RecretlIng Mani

                                                                 Dr-Fn OF TRUST
                       The maximum principal indebtedness for Tennessee recording tax purposes is S 611,000.00

                       MIN:100075120040050228

                       DEFINITIONS

                       Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11,
                       13,18, 20 and 21. Certain rules regarding the usage awards used in this document are also provided in Section 16.

                      (A) "Security Instrument" means this document, which is dated DECEMBER 31, 2004                             ,together
                      with all Riders to this document.
                      (B) "Borrower" is MARVELL R MITCHELL INDIVIDUAL
                                             (A MARRIED


                       Borrower is the truster under this Security instrument.
                      (C) "Lender" Is ANE FINANCIAL CORPORATION

                       Lender is a GEORGIA CORPORATION                                                                          organized
                       and existing under the laws of GEORGIA
                       Lender's address is 4036 W'ETIIERBURN WAY, NORCROSS, GEORGIA 30092


                      () "Trustee" is tirBIKEIME/OXICS= PAR'TOR R. MARGE, ESQ•
                       0


                      a resident of Memphis                        , Tennessee.
                      (E) "MERS' is Mortgage Electronic Registration Systems, Inc. MERS Is a separate corporation that is acting
                      solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary under this Security
                      instrument. MERS is organized and existing under the laws ofDelaware, and has an add= and telephone number
                      of P.O. Box 2026. Flint. MI 48501-2026. tel, (088) 870-MERS.


                      Borrower Intilai.4.
                      TENNESSEE—Single Fe      Fannin Fiq,effickee Mac UNIFORM INSTRUMENT • MERS           DoeMeOMOVeennen SOD.04,-13st
                      Form 3045 1/01                                     Pogo 1 or 11                              www,Mcomiacom




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 42 of 61                                                                                                        PageID 49

                                                  Tom Leather-wood, Shelby County Register of Deeds: Visit




                         (F) "Note" means the promissory note ,signed by Borrower and dated DECEMBZR 31, 2004
                         The Note states that Borrower owes Lender SIX HUNDRED ELEVEN THOUSAND
                                                                                 Dollars (U.S.1 611,000 - 00                   plus interest.
                          Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than
                          FEBRUARY 1, 2035
                         (G) "Property" means the property that is described below under the heading "Transfer of Rights 111 the Property."
                         (N) "Loan" means the debt evidenced by the Note. plus interest. any prepayment charges and late charges due under
                         the Note, and all sums due under this Security Instrument. plus interest.
                         (I) "Riders" meansall Riders to this Security Instrument that are executed by Borrower. The following Riders are
                         to be executed by Burrower [check box as applicable):

                               Lid Adjustable Rate Rider     Ej Condominium Rider                            O Second Home Rider
                               J Balloon Rider               0 Planned 'Unit Development Rider               •Other(s) (specify)
                               O 1-4 Family Rider                 Blwcekiy Payment Rider

                         (i) "Applicable Law" means all controlling applicable federal, State and local statutes, regulations, ordinances and
                          administrative rules and orders (that have the effect of      as well as all applicable final. nonuppealable judicial
                          opinions.
                        (K) "Community Association Dezes, Fees, and Assessments" means all dues, fees. assessments and other charges
                          that are imposed on Borrower or the Property by a condominium association. homeowners association or similar
                          organization,
                        (L) "Electronic Funds Transfer" means any transfer offunds, other than a transaction originated by check, draft,
                         or similar paper instrument, which is Initiated through an electronic terminal, telephonic instrument. computer. or
                         magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account, Such term
                         includes, but Is not limited to, poInt-of-sale transfers. automated teller machine transactions, transfers initiated by
                         telephone. wire transfers, and automated clearinghouse transfers.
                        (M) "Esc-row Items' means those items that are described in Section 3.
                         01) "Miscellaneous Proceeds" moans any compensation, settlement, award of damages, or proceeds paid by any
                         third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
                         destruction or, die Property: (II) condemnation or other taking of all or any part of the PrOpetty;(Ill) conveyance in
                         lieu of condemnation; or (iv) misrepresentations of, or omissions as tn. the value and/or condition of the Property,
                        (0) "Mortgage Insurance" means insuranCeprotecting Lender against the nonpayment of. or default on, the Lon.
                        (P) "Periodic:Payment" means the regularly scheduled amount due for (I) principal and interest under the NOM,
                         plus (i1) any amounts under Section 3 of this Security Instrument.
                        (Q) "RESPA" means the Real Estate Settlement Procedures Act (IZ U.S.C. 92601 et seq.) and Its implementing
                         regulation, Regulation X (24 C.F.R. Part 3500). as they might be amended from lime to time. or any additional or
                        successor legislation or regulation that governs the same subject mattes, As used in this Security instrument,
                        "i2E,SPA" refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan"
                        even if the Loan does not qualify as a "federally related mortgage loan* under RESPA.
                        (R) 'Successor in Interest Of Borrower" means any party that has taken tide to the Property, whether or not that
                        party has assumed Borrower's obligations under the Note and/or this Security instrument.

                        TRANSFER OF RIGHTS IN THE PROPERTY

                        The beneficiary of this Security instrument is MERS (solely as nominee. for Lender and Lender's successors and
                        assigns)and the surrt-Nttors and assigns of MERS. This Security Instrument secures to Lender: (I) the repayment of
                        the Loan. and all renewals..extensions and modifications of the Note: and (ii) the performance of Borrower's



                        Borrower initnts-
                        TENNESSEE-Smola Family--Fan           Freddie Mat UNIFORM INSTRUMENT - MFRS                  DosMasac Mat= 101,649.116:,
                        From 3043 1101                                      Paw, 2 or 14                                      www.clocirtastiacom




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 43 of 61                                                                                     PageID 50

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             covenants'and agreements under this Security Instrument and the Note. For this purpose,Borrower irrevocably grants
             and conveys so ?mice, in trust, with power of sale, the following described property located in the
                           COUNTY                                    of               SHELBY
                           ITYpe of Reconitrwjurtutkijoi                                INtme of Recordhigjurtukdionj
             SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS
             EXHIBIT "Ao.




                                                               Derivatioe Clause
                   The instrument constituting the SOUTEP.of the Borrower's interest in the foregoing described properly was
                   a WARRANTY DEER                 recorded       in 02 058879
                   in the Register's °Mee of SHELBY                                            County. Tennessee.

             which currently has the address of 9375 ZACHAR.IAH COVE
                                                                   Isusen

                                        MSMPHIS                                Tennessee        38133           (*property Address"):
                                          ICttyl                                                   Catel

                  TO HAVE AND TO HOLD.the aforedescribed property. together With all the hereditaments and appurtenances
            thereunto belong to, or in anywise appertaining, unto the Trustee, its successors in trust and assigns, in fee simple
            forever,
                  TOGETHER WITH all the improvements now or hereafter erected an the property. and all easements,
            appurtenances. and fixtures now or hereafter a part of the. property. Ali replacements and additions shall also be
            covered by this Security Instrument. Ali ofthe Foregoing is referred to in this Security Instrument as the "Property."
            Borrower understands and agrees that MFRS holds only legal title to the interests granted by Borrower in this Security
            Instrument, but, IF necessary to comply with law or custom, MERS(as nominee for Lender and Lender's successors
            and assigns) has the right: to exercise any or all of those interests. Including, but not limited to, the right to foreclose
            and sell the Property; and to take any action required of Lender including, but not limited to, releasing and canceling
            this Security instrument.
                  BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
            to grant and convey the Property and that the Property is unencumbered, except for encumbrances of record,
            Borrower warrants and will defend generally the title to the Property against all claims and demands,subject to any
            encumbrances of record.
                  THISSECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
            limited variations by jurisdiction to constitute a tutifonn security instrument covering teat property.

                 UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                 1. Payment ofPrincipal, Interest, EserowIterns,PrepaymentCharges, and LateGhergers. 13orrowershall
            pay when due the principal of, and line= on, the debt evidenced by the Note and any prepayment charges and fate
            charges due under the Note. Borrower shall also pay Funds for Escrow Items pursuant to Section 3. Payments due
            under the NOM and this Security instrument shall be made in U,S. currency. However, if any check or other


            Borrower Initials.
            TENNESSEE—Single Fami                         Mae UNIFORM INSTRUMENT - MERS                 DoeMagive.itcaum   ,
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            Pam 3043 1/01                                       Page 3or 11                                        www.docrnsok.,
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                                                Tom Loatherwood, Shelby Courtly RegisterofDoeds: Instr. # 05007896




                        instrument received by Lender as paymeru under the Note or this Security Instrument is returned to Lender unpaid.
                        Lender may require that anyor all subsequent payments due under the Note and this Security Instrument be made In
                        one or more ofthe following forms. as selected by Lender; (a)cash:(b) money order:(c) certified check, bank cheek,
                        treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are Insured
                        by a federal agency. instrumentality. or entity. or (d) Electronic Funds Transfer.
                              Payments arc deemed received by Lender when received at the location designated in the Note or at such other
                       location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return
                        any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender
                        map accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
                        hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
                       obligated to apply such payments at the rune such payments are accepted. If each Periodic Payment ts applied as of
                       its scheduled due data, then Lender need not pay interest on unapelled funds. Lender may hold such unapplied funds
                       uettl Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
                       time. Lender shall either apply such funds or return them to Borrower, if not applied earlier, such funds will be
                       applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
                       which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
                       under the Notc and this Security Instrument or performing the covenants and agreements secured by this Security
                    • Instrument,
                              2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
                       accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
                      (b) principal due under the Notc: (e) amounts due under Section 3. Such payments shall be applied to each Periodic
                       Payment in the order in which It became due. Any remaining amounts shall be applied first to late charges. second
                       to any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
                             If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
                      amount to pay any late charge due. the payment may be applied to the delinquent payment and the late charge. If
                      more than one Periodic Payment is outstanding, Lender may apply any payment received Cram Borrower to the
                      repayment of the Periodic Payments if. and to the extent that, each payment can be paid in full, To the extent that
                      any excess exists after the payment is applied to the fun payment of one or more Periodic Payments, such excess may
                      be applied to any Late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
                      as described in the Note.
                             Any application of payments. insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
                      shall not extend or postpone the due date, or change the ameunt, of the Periodic Payments.
                             3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
                      Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due far; (a) taxes and
                      assessments and other items which can attain priority over this Security Instnunere as a lien or encumbrance on the
                      Property:(b) leasehold payments or ground rents on the Property, if any:(c) premiums for any and ail insurance
                      required by Lender nadir Section 5; and(d) Mortgage Insurance premiums,if any,or any sums payable by Borrower
                      to Lender in lieu of the payment of Mortgage InsurIce premiums in accordance with the provisions of Section 10.
                     These Items= called -Escrow items." At origination oral any time during the term of the Loan,Lender may require
                      that Community Association Dues, Fees. and Assessments, ifany, be escrowed by Borrower, and such dues.fees and
                      assessments shall be an Escrow Item. Borrower shall promptly furnish to Leader all notices ofamounts to be paid
                      under this Section. Borrower snail pay Under the Funds for Escrow Items unless Lender waives Borrower's
                     obligation to pay the Funds for any or alt Escrow Items. Lender may waive Borrower's obligation to pay to Lender
                      Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event ofsuch waiver,
                      Borrower shall pay direcily, when and where payable, the amounts[hie for any Escrow items for which Payment of
                     Funds has been waived by Lender and. If Leader requires, shall furnish to Lender receipts evidenciog such payment
                     within such time period as Lender may require. Borrower's obligation to make such payments and-to provide receipts
                     shalt for ail purposes be deemed to be a covenant and agreement contained in this Security instrument, as the phrase
                     'Covenant and agreement' is used in Section 9. if Borrower is obligated to pay Escrow Items directly. pursuant to


                     Borrower MItlals:
                     TENNESSEE-Single          Fannie      Freddie Mac UNIFORM INSTRUMENT - MERS               DocA44.01craEoloncat 400.641,110
                     Ferro 3043 1101                                     Page 4 of 1.:                                    www,docmesird,com




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 45 of 61                                                                                         PageID 52

                                               Tom Leatherwood, Shelby CoonWieghder of Deeds: Instr. fl 05007895




                       a waiver. and Borrower fails to pay the anima due for an Escrow Item. Lender may exercise its rights under Section
                       9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
                        Lender may revoke the waiver as to any or all Escrow items at any time by a notice given in accordance with Section
                        15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that arc then required
                        under !his Section 3.
                              Lender may,at any time, collect and hold Funds in an amount(a)sufficient to permit Leerier to apply the Funds
                       at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA,
                       Lender shall estimate the amount or Funds due on the basis of current data and reasonable estimates ofexpenditures
                       of future Escrow Items or otherwise in accordance with Applicable Law.
                              The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
                       entity (including Lender. if Lender is an institution whose deposits are so insured) or In any Federal Home I _min
                       Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender
                       shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account. or verifying
                       the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law penults Leader to make
                       such a charge. Unless an agreement Is made in writing or Applicable Law requires interest to be paid on the Funds.
                       Lender shall not be required to pay Borrower any Interest or earnings on the Funds, Borrower and Lender can agree
                       in writing. however. that interest shall be paid on the Funds. Lender shall give to Borrower, without charge. an
                       annual accounting of,the Funds as required by RESPA,
                             If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
                      the excess funds in accordance with RESPA. If there is a shortage ofFunds held in escrow. as defined under RESPA,
                       Lendershall notify Borrower as required by RESPA,and Borrower shall pay to Lender the amount necessary• to make
                      up the shortage in accordance with RESPA, but in no mere than 12 monthly payments. if there is a deficiency of
                      Funds held in escrow. as defined under RESPA. Lender shall notify Borrower as required by RESPA. and Borrower
                      shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
                      12 monthly payments.
                             Upon payment in full °ransoms secured by this Security instrument, Lender shall promptly refund to Borrower
                      any Funds held by Lender.
                            .4. Charges; Liens. Borrower shall pay all taxes, assessments. charges, fines, and impositions attributable to
                      the Properly which can attain priority over this Security Instrument, leasehold payments or ground rents on the
                      Property, If any, and Community Association Dues, Fees, and Aasasaments, If any, To the extent that these Items
                      arc Escrow Items, Borrower shall pay them in the manner provided in Section 3.
                             Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
                     (a) agrees in writing to the payment of the obligation secured by the pen in a manner acceptable to Lender. but only
                     so king as Burrower is perforating such agreement: (b) contests the Den in sued faith by. or defends against
                      enforcement of the, lien in. legal proceedings which in Lender's opinion operate to prevent the enforcementofthe lien
                      while those proceedings are pending. but only until *eat proceedings are eoncluded; or (c) secures from the holder
                     of the lien an;agreement satisfactory to Lender subordinating the lien to this SecurilY instrument. If Lender
                     delerrnine.s that any pati of the Property is subject to a lien which can attain priority over this Security instrument,
                     Lender my give Borrower a notice Identifying the lien, Within 10 days of the date on which that notice is given.
                     Borrower shall satisfy the,lien or take one or more of the actions Set forth above in this Section 4.
                            Lander may requIrel3onower to pay a onetime charge for a real estate tax verification and/or reporting service
                     used by Lender in connection with this Loan.
                            5. Property Insurance, Borrower shall keep the improvements now existing or hereafter erected on the
                     Property insured against loss by fire, hazards included within the term "extended coverage.' and any other hazards
                     including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
                     maintained in the amounts (including deductible levels) and for the periods that Lender requires, What Lender
                     requires pursuant to the preceding sentences can change during the term or Ott Loan- The insurance carrier providing
                     theinsurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
                     not be exercised unseasonably. Lender may require Borrower to pay, in connection with this Loan, either: fa) a one-


                     Borrower initials:
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                                               Tom Loatherwood, Shelby Cp.tiiiWit,gistor of Deeds: Instr. 14 05007896




                        time charge for flood zone determination, certificalloe and tracking services: or (b) a one-time charge for flood zone
                        determination and certification services and subsequent charges each time rainappings or similar changes occur which
                        reasonably might affect such determination or certification, Borrower shall also be responsible for the payment of
                        arty fees imposed by the. Federal Emergency Management Agency in comedian whit the review of any flood zone.
                        determination resulting from an objection by Borrower.
                              If Borrower falls to maintain any of the coverages described above, Lender may obtain insurance coverage, at
                        Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
                        of coverage. Therefore, such coverage shall cover Under, but might or might not protect Borrower, Borrower's
                        equity in the. Progeny, or the contents of the Property, against any risk, hazard or lialary and nit& provide greater
                        or lesser coverage than was previously in diem. Borrower acknowledges that the cost of the insurance coverage so
                       obtained might significantly exceed the cost ofinsurance that Borrower could have obtained. Any amounts disbursed
                        by Lender under this Section 5 shall become additional debt of Borrower secured by this Securily Instrument. These
                       amounts shall Mae inteteo at the Nate rate from the date of disbursement and shall be payable, with such interest.
                       upon notice from Lemkr to Borrower requesting payment.
                              All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
                       disapprove such policies. shall include a standard mortgage clause. and shall name Lender as mortgagee and/or as an
                       additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
                       Borrower shall promptly give to Lender all receipts of paid premiums and renewal nodces. if                 obtains any
                       farm ofInsurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property. such
                       policy shall Include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
                       payee.
                              In the event ofloss. Borrower shalt give prompt notice to the insurance carrier and 1-ender. Lendermay make
                       proof of loss If not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
                       insurance proceeds, whether or not the underlying Insurance was required by Lender. shall be applied to restoration
                       or repair of the Properly. If the restoration or repair is economically feasible and Lender's security is not lessened.
                       During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
                       has 11311 an opportunity to inspect such Propeny to ensure the work has been completed to Lender's satisfaction.
                       provided that such tospection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
                       restoration in a single payment or in a series of progress payments as the work Is completed. Unless an agreement
                      is made in writing or Applicable Law requires Interest to be paid on such insurance proceeds, Under shall not be
                       required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters. or other third parties,
                       retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
                      If the restoration or repair Is not econamically feasible or Lender'ssecurity would he lessened, the insurance proceeds
                      shall be applied to the sumssecured by this Security Instrument, whether or not then due. with the excess, Ifany. paid
                      to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                             1r Borrower aharvions the Property, Lender may file, negotiate and settle any available insurance claim and
                      related matters, If Borrower does not respond within 3(1 days to a notice from Lender that the insurance carrier has
                      offered to settle a claim. then Lender may negotiate and settle the claim. The 30-day period will begin when the
                      notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
                      assigns to Lender (a) Borrower's rights to any Insurance proceeds in an amount not to exceed the amounts unpaid
                      under the Note or this Security I nstrument. and(b)any other of Borrovver's rights (other thart the right to any refund
                      of unearned premiums paid by Borrower) under all Insurance policies covering the Property. insofar a$ such rights
                      are applicable to the coverage bf the Property. Lender may use the Insurance. proceeds either to repair or restore the
                      Property or to pay amounts unpaid under the Note or this Security Instrument. whether or not then due,
                             6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrrnver's principal residence
                      within 60 days after the execution of this Security Instrument and shall continue ro occupy the Property as Borrower's
                      principal residence for at least one year after the detectoccupancy, unless Lender otherwise agrees in writing, which
                      cement shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
                      control.


                      Dorrinver Initials.
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                               7. .Preservation, Maintenance and Protection of the Property; Inspections Borrower shall not destroy,
                         damage or Impair the Properry, allow the Property to deteriorate or commit waste on the Property. Whether or not
                         Borrower is residing in the Property. Borrower shall maintain the Property in order to prevent the Property from
                        deteriorating or decre.asIng in value due to its condition. Unless it is determined porsuant to Section 5 that repair or
                        restoration Is not economically feasible, Bonrower shall promptly repair the Property if damaged to avoid further
                        deterioration or damage. If               or condemnation proceeds ate paid la connection with damage to, or the taking
                        of, the Property. Borrower shall be responsible for repairing or restoring the Property only if Lender has released
                        proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or In
                        a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
                        to repair or restore the Property. Borrower is not relieved of Borrower's obligation for the completion ofsuch repair
                        or restoration.
                              Lender or Its agent may make reasonable entries upon and inspectionn of the Property, left has reasonable cause,
                        Lender may inspect the interior ofthe improvements on the Property. Lender shall give Borrower notice et the time
                        of or prior to such an interior inspection specifying such reasonable mart.
                              8. Borrower's Loan Application. Borrower shall be in default it. during the Loan application process.
                        Borrower or any personsor entities actittg at the direction of Borrower or with Borrower's knowledge or consent gave
                        materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender wliii
                        material information) in connection with the Loan. Material representations include, but are not limited to,
                        representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
                              9. Protection of Lender's interest in the Property and Rights Linder this Security Instrument. If (a)
                        Borrower falls to perform the covenants and agreements contained In this Security instrument, (b) there is a legal
                        proceeding that might significantly offal Lender'sinterest in the Property and/or rights under this Security Instrument
                       (such as a proceeding in bankruptcy. probate, far condemnation or forfeiture. for enforcement ofa Ben which may
                       attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
                       Propeny, then Lender may do and pay for whatever is reasonable or appropriate 10 protect Lender's interest in the
                       Property and rights under this Security Instrument, including protecting and/or assessing the value of tha Property.
                       and securing ami/er repairing the Properly. Lender's actions can Include, but are not limited to: (a) paying any sums
                       secured by a boo which has priority over this Security instrument: (h) appearing in court; and (c) paying reasonable
                       attorneys'fees to protect its Interest in the Property and/or rights under this Security Instrument.including itssecured
                       position in a bankruptcy proceeding. Securing the Property Includes, but Is not limited to, entering the Property to
                       make repairs, Change locks, replace or board up doors and windows. drain water from pipes. eliminate building or
                       other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
                       urrder ads Section 9, Leader does not have to doscowl is not underany duty or obligation to dose. It is agreed that
                       Lender incurs no liability for not taking any or all actions authorized under ibis Section 9.
                             Any amounts disbursed by Lender under this Section 9shall become additional debt ofBorrower secured by this
                       Security Instrument. 'These amounts shall bear interest at the Note rate from the date Of disbursement anti shall be
                       payable, with such interest. upon notIce from Lender to Borrower requesting payment.
                             If this Security Instrument is on a leasehold, Borrower shall comply with all the provislenS or the lease. if
                       Borrower acquires fee title to the Property, the leasehold and the fee Ode shall not merge 1111ittiS Lender agrees to the
                       merger in writing,
                             10. Mortgage insurance. If Lenderrequired Mortgage Insurance asa condition of making the Loan, Borrower
                      shall pay the premiums required to maintain the Mortgage insurance in effect. If, for any reason. tile Mortgage
                      Insurance coverage required by Lender ceases iv be oval/able from the mortgage insurer that previously providedsucb
                      insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
                      Insurance, Borrower shall pay the premiums requited to obtain coverage substantially equivalent to the Mortgage
                      Insurance previously in effect. at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
                      previously in effect, from an alternate mortgage Insurer selected by Lender. If substantially equivalent Mortgage
                      Insurance coverage Is not available. Borrower shall continue to pay to Lender the amount ofthe separately designated
                      payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these


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                           payments as a non-refundable loss reserve in lieu of Mortgage insurance. Such lass reserve shalt be non•retundabie,
                           notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
                           interest or earnings on such loss reserve. Lender can no longer require loss reserve payments If Mortgage Insurance
                           coverage fin the amount and for the period that Lender requires) provided by artitsarer selected by Lender again
                           becomes available. Is obtained. and Lender requires separaiely designated payments toward the premiums for
                           Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
                           required to make separately designated payments toward the premiums for Mortgage insurance, Borrower shall pay
                           the premiums required to maintain Mortgage Insurance in effect, or to provide a nonrefundable loss reserve, until
                           Lender's requirement for M ortgage insurance ends in accordance with any written agreement herweee Borrower and
                           Lender providing for such termination or until termination is required by Applicable Law. Nothing In this Section
                           10 affects Borrower's obligation to pay interest at the rate provided in the Note.
                                  Mortgage insurance reimburses Lender (or any entity that purchases the Note) for certain losses It may Man-
                           ic Borrower dots not repay the Loan es agreed. Borrower is not a party to the Mortgage insurance.
                                 Mortgage insurers evaluate their total risk on all such insurance In force from time to time,and may enter into
                           agreements with other parties that share or modify diek risk, or reduce losses These agreements are on terms and
                           conditions that art satisfactory to the mortgage insurer and the: other party (or parties) to theseagreements, These
                           agreements may require the mortgage insurer to make payments using any source offunds that the mortgage insurer
                           may have available (which may include funds obtained tram Mortgage insurance premiums),
                                 As a result of these agreements, Lender, any purchaser of the Note, another insurer. any reinsurer, any other
                          entity. or any affiliate ofany of the foregoing, may receive (directly or indirectly)amounts that derive Front (or raisin
                          be characterized as) a portion of Borrower's payments for Mortgage Insurance.in exchange for sharing or modifying
                          the mortgage insurer's risk, or reducing losses. Jr such agreement provide.e that an affiliate of Lender takes a share
                          of the Insurer's risk in exchange for a share of the premiums paid to the insurer, the artangetnerd is often termed
                          'captive reinsurance." Further:
                                (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
                          Insurance, or any other terms ofthe Loan. Suth agreements will not increase the amount Harrower will owe
                          for Mortgage insurance, and they will not entitle Borrower to any refund.
                                (b) Any such agreements will sat affect the rights Borrow= has - if any - with respect to the Mortgage
                          insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
                          to receive certain disclosures, to roquest and obtain cancellation of the Mortgage Insurance, to have the
                          Mortgage Insurance txminated automatically,and/or torer.chrea refund °flirty Mortgage Insurance premiums
                         that were unearned at the time of such cancellation or termination.
                                 11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
                          and shall be paid to Lender.
                                Ifthe Property is damaged,such Miscellaneous Proceeds shall be applied to restoration or repairofIke Property.
                         if the restoration or repair Is economically feasible and Lender's security is not lessened. During such repair and
                         restoration period, Lender shall have the right m hold such leliscellaneous Proceeds until Lender has had an
                         opportunity to inspect such Property to ensure the, work has been completed to Lender's satisfaction, provided that
                         such inspection shall be undertaken promptly. Lender may payfor therepairsand restoration in a single disbursement
                         or in a series of progress payments as the work is completed. Unless an agreement Is made in writing or Applicable
                         Law requires interest refit paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
                         Interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
                         Lender's security would be lessened, the Miscellaneous Proceedsshall be applied to the sums secured by this Security
                         Instrument. whether or not then due, with the excess, If any. paid to Borrower. Such Miscellaneous Proceedsshall
                         be applied in the order provided far to Section 2.
                                in the event or a total taking, destruction, or loss in value of the Property-, the Miscellaneous Proceeds shall be
                         applied to the sums secured by this Security Instrument, whether or net then due, with the excess, If any, paid to
                         Borrower.



                         Borrower Initials:
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                                In the event of a partial taking, destruction. or loss in value of the Property in which the fair market value or
                          the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
                          of the sums secured by this Security instnunent immediately before the partial taking, destruction, or loss In value.
                          unless Bozrowerand Lender otherwise agree in writing, thesums second by thisSecurity Instrument shall be reduced
                          by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the tom/ amount of the seats
                         secured immediately before the partial taking. destruction, or loss in value divided by (b) the fair market value of the
                          Property immediately before the partial takieg, destruction, or loss In value. Any balance shall be paid to Bnrrower.
                                In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
                          the Property Immediately before the partial taking, destruction, or loss in value is less than Use amount of the sums
                          secured immediately before the partial taking• destruction, or loss In value, unless Borrower and Lender otherwise
                          agree in writing, the Mlscelianeous Proceeds shall be applied to the sums secured by this Security Instrument whether
                          or not the stuns are then due.
                               Itthe Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
                          defined in the next sentence) offers so make an ward to settle a claim for damages, Borrower falls to respond to
                          Lender within 30 days after the dart the notice is given. Lender Is authorized to collect and apply the hdiscellaneoits
                         Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether
                         or not then due. "Opposing Party" means the Oiled parry that owes Borrower Miscellaneous Proceeds or the party
                         against whom Bomawer has a right of action in regard to Miscellaneous Proceeds•
                               Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, ie Lender's
                        judgment. could result in forfeiture of the Property or other material impairment of Lender's interest in the Property
                         or rights under this Security Instrument. Borrower can cum such a default and. if acceleration has occurred. reinstate
                         as provided in Section 19. by causing the action or pmceeding to be dismissed with a ruling that, in Lender's
                        judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
                         rights under this Security instrument. The proceeds of any award or claim for damages that are attributable to the
                         impairment or Lender's interest in the Property are hereby assigned and shall be pald to Lender.
                               All Miscellaneous Proceeds that are net applied to restoration or repair of the Preperty shall be applied in the
                         order provided for In Section 2.
                               12. Borrower Net keleased; Forbearance By Lender Not a Waiver. Extension of the time for payment or
                         modification ofamortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
                         Successor in Interest of Borrower shall not operate to release lite liability or Borrower or any Successors in Interest
                         of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower
                         or ID refuse to extend the for payment or otherwise modify amortization of the sutras secured by this Security
                        Instrument by mum ofany demand matte by the original Borrower or any Successors in Interest of Borrower. Any
                        forbearance by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of
                         payments from third persons. entitles or Successors in Interest of Borrower or In amounts less than the amount then
                        due, shall not be a waiver of or preclude the exercise of any right or remedy.
                               13. Joint and Several Liability; Ca-signers; Successors and Assigns Bound, Borrower mwenants and agrees
                        that Borrower's obligations and liability ehall bejoint and several. However,any Borrower who co-signs this Security
                        Instrument but does not execute the Note (a "co-signer"): (e) is co-signing this Security Instrument only to mangage,
                        grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
                        personally obligated to pay the sums secured by this Security Instrument: and (c) agrees that Lender and any other
                        Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms ofthis Security
                        Instrument or the Note wIthout the co-signer's consent.
                              Subject to the provisions of Section 18. any Successor in Interest of Borrower who assumes Borrower's
                        obligations under this Security Instrument in writing. and is approved by Lender.shall obtain all orBorrower's rights
                        and benefits under this Security frenument. Borrower shali not be released from Borrower's obligations end
                        under this Security Instrument unless Lender agrees to such release in writing. 'The covenants and agreements of this
                        Security Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.



                        Borrower Initials:
                        TENNESSEE—Single Family- Fannie MaelFreddie Mae UNIFORM INSTRUMENT - MERS                    DeeMegio Weente IlVd”.11$7
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                    la. 'Loan Clinrg=. Lender may charge Borrower fees fur services performed in connection with Borrower's
             default, far the purpose of protecting Lender's interest in the Property and rights under this Security instrument,
             including, but not limited to, attorneys' fees. property inspection and valuation fees. In regard to any other fees, the
             absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed
             as a prohtbItion on the charging ofsuch fee. Lender may not charge fees that are expressly prohibited by this S wintry
             instrument or by Applicable Law.
                   If the Loan is subject to 3 law which sets maximum loan charges. and that law is finally Interpreted so that the
             interest or other loan charges collected or to be collected in C01111CC0011 with the Loan exceed the permitted limits.
             then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit:
             and (b) any SUMS already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
             Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
             to Borrower. If a refund reduces principal. the reduction will be treated as a partial prepayment without any
             prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's aceeprance of
             any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
             have arising out of such overcharge.
                    15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in
             writing. Any notice to Borrower in connection with this Security instrument shall be deemed to have been given to
             Borrower when malted by first class mail or when actually delivered to Borrower's notice address If sent by other
             means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
            otherwise. The notice address shall be the Property Address ohms Borrower has designated a substitute notice
            address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. it- Lender
            specifies a procedure for reporting Borrower'schange of address, then Borrower shall only report a change of address
            through that specified procedure. There may be only one designated notice address under this Security instrument
            at any one time. Any notice to Lender shall be given by delivering 11 or by mailing it by first class mall to Lender's
            address stated herein unless Lender has designated another addreas by notice to Borrower. Any notice in connection
            with this Security Instrument shall not be deemed to have hten given to 1-ender until actually received by Lender.
            if any notice required by las Security Instrument is also required under Applicable Law, the Applicable Law
           requirement wilt satisfy the corresponding requirement under this Security instrument.
                   16. Governing Lowe Severability; Rules of Construction. This Security Instrument shall be governed by
           federal law and the law of the jurisdiction In which tire Property is located. All rights and obligations contained in
            this Security instrument are subject ID any requirements and limitations of Applicable Law. Applicable Law might
            explicitly or implicitly allow the parties to agree by contract or It might be silent, but such silence shalt not be
            construed as a prohibition against agreement by contract In the event that any provision or clause of this Security
            lnstrzurient or the Note confilas with Applicable Law,such conflict shall not affect other provisions of this Security
           instrument or the Note which can be given effect without the conflicting provision,
                  As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
           neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice
           versa: and (c) the word "may' gives sole discretion without any obligation to take any action.
                   17. Borrower's Copy: Borrower shall be given one copy of the.Nett and of this Security Instrument.
                   18. Transfer of the Property or a Beneficial interest in Borrower, As used in dais Section 18, "Interest in
           the Proptny" means any lega)or beneath! Interest in the Properly, including, but not limited to, those beneficial
           interests transferred in a bond for deed, contract for deed. installment Sales contract or esceow agreement. the intent
           of which is the transfer of title by Borrower at a future date to a purcfmser.
                  If all or any part of the Properly or any 'Metal in the Property is sold or transferred (or if Borrower is not a
           natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
           Lender may require immediate payment in full plan sumssecured by this Security Instrument. However,this option
           shalt not be exercised by Lender if such exercise it prehibited by Applicable Law.
                  If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
           period {trim less than 30 days from the dare the notice is given in accordance with Section 15 within which Borrower


           Borrower Inlitais:
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              must pay all sums secured by this Security instrument. If Borrower fails to pay these sums prior to the expiration of
              this period, Lender may Invoke any remedies permitted by this Security Instrument without further notice or demand
              on Borrower.
                     le. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
              have the right to lutve enforcement of this Security Instrument discontinued at any time prior to the earliest of: .(a)
              five days before sale of the Property pursuant to any passer of sale contained in this Security instrument: (b)such
              other period as Applicable Law might specify for the termination of Borrower.;right to reinstate; or (c) entry ofa
             judgment enforcing this Security Instrument, These conditions are that Borrower: (a) pays Lender all sums which
              then would,be clue under this Security Instrument and the Note aslino acceleration had occurred:(b)curesany default
              ofany other covenants or agreements:(c) pays all expenses Incurred in enforcing this Security Instrument, including,
              but not limited to, reasonable attorneys' fees, property Inspection and valuation fees, and other fees incurred for the
              purpose of protecting Lender's interest In the Property and rights under this Security Instrument; and(d) takes such
              action as Lender may reasonably require to assure that Lender's interest in the Property arid rights under this Security
              Instrument.and Borrower's obligation to pay thesurns secured by this Security Instrument,shall continue unchanged.
              Under may require that Borrower pay such reinstatement sums and expenses In one or more of the following forms,
              asselected by Lender: (a)cash:(b) money order:(c)certified check, bank check,treasurer's check or cashier's,check,
              provider)any such check is drawn upon an Institution whose deposits arc insured by a federal agane'y, instrumentality
              or entity;or(d)Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrumentand obligations
             secured hereby shall remain fully effective as If no acceleration had occurred. However. this right to reinstate shall
              not apply in the case or acceleration under Section 18.
                    20. Sale of Noce; Change of Lean Servicer; Notice of Grievance. The Note or a partial interest in the Note
             (together with thisSecurity instrument) can he sold one or more times without prior notice to Borrower. A sale might
             result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note
             and this Security instrument and performs other mortgage loan servicing obligations under the Note. this Security
             insoument, and Applicable L814'. There also might be one or more changes of the Loan Servicer unrelated to a sale
             ofthe Note. I r there is a change or the Loan Servicer, Borrower will be given written notice of the change which will
             state the name and address of the new Loan Stryker, the address to which payments should be made and arty other
             information RESPA requires in connection with a notice of transfer or servicing. If the Note is sold and thereafter
             the Lean is serviced by a Loan Servicer other than the purchaser ofthe Note. the mortgage loan servicing obligations
             to Borrower will remain with the Loan ServIcer or be transferred to a successor Loan Servicer and are not assumed
             by the Note purchaser unless otherwise provided by the Note purchaser.
                    Neither Borrower nor Lender may commence,join, or be joined to any judicial action (as ether an individual
             litigant or the member ofa class) that arises from the other party's actions pursuant to this Security Instrument or that
            alleges that the other party has bleached any provision of, or any duty owed by reason of, this Security Instrument.
           'untilsuch Borrower or Lender has fulfilled the other party(with such nonce given in compilancewIththe requirements
             or Section 25) of such alleged breach and afforded the. other pany'nem° a reasonable period after the giving ofsuch
             notice to take corrective action. If Applicable Law provides a time period which must elapse before certain action
            can be taken, that time period wilt be deemed to be reasonable for purposes of this paragraph. The notice of
             acceleration and opportunity to cure given to Borrower pursuant In Section 22 and the notice of acceleration given
             to Borrower pursuant to Section 18 shall be deemed to satisfy tree notice and opportunity to take corrective action
             provisions of this Section 20.
                   21, Hazardous Substances, As used in this Section 21: (a) "Hazardous Substances" arc those substances
            defined as toxic or hazardous substances, pollutants. or wastes by Environmental Law and the allowing substances:
            gasoline, kerosene. other flartunable or toxic ptunleum products, ;axle pesticides and herbicides. Volatile solvents,
            materials containing asbestos or formaldehyde. and radioactive materials; (b) "Environmental Law" means federal
            laws and laws of thejurisdiction where the Property is located that relate to health,safety or environmental protection:
            (c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
            Environmental Law: and (d) an "Environmental Condition" means a condition that can cause. contribute to, or
            otherwise trigger an Environmental Cleanup.


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                                Bon'ower shall not cause or permit the presence, use, disposal, storage. or release ofany Hazardous Substances,
                          or threaten to release any Hazardous Substances, on or In the Property. Botrower shall not do, nor allow anyone else
                          to do. anything affecting the Property (a) that is In violation of any Environmental Law, {b) which creates an
                         Environmental Coodition. or (c) which, due to the presence. use. or release of a Hazardous Substance, creates a
                         condition that adversely affects the value of the Properly. The preceding two sentences shall not apply to the
                          presence, use, or storage on the Property ofsmall quantities ofHazardous Substances that are generally recognized
                         to be. appropriate to normal residential uses and to maintenance of the Property (including, but not limited to,
                         hazardous substances in consumer products).
                                Borrower shall promptly give Lender written notice of (a) any investigation, claim. demand, lawsuit or other
                         action by any governmental or regulatoryagency or private paay'Involving the Property and any HazardousSubstance
                         or Environmental Law of which Borrower has actual knowledge,(b)any Environmental Condition. including but not
                         limited to. any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
                         condition caused by the presence, tree or release of a Hazardous Substance which adversely affects the value ofthe
                         Property. If Borrower learns, or is notified by any governmental or regulatory authority. or any private party, that
                         any removal or other remedlailon of any Hazardous Substance affecting the Property is necessary, Borrower shall
                         promptly take all necessary remedial actions In accordance with Environmental Lalve Nothing herein shall create any
                         obligation an Lender for an Envitoomental Cleanup.

                                NON-UNIFORM COVENANTS, Borrower and Lender further covenant and agree as follows:
                                22. Acceleration; Remedies, Lender shall give notice to Borrower prior to acceleration following
                          Borrower's breach ofany covenant or agreement in this Security Instrument(but not prior to acceleration under
                          Section IS unless Applicable Law provides otherwise). The notice shall specify: (a)the default;(b)the action
                          required to cure the default;(o) a date, not less than 30 days from the date the notice is given to Borrower, by
                          which the default must be cured; and (d)that failure to etre the default On or before the dote specified in the
                          notice may resuh in acceleration ofthe sums secured by this Security Instrument and sale ofthe Property. The
                          notice shall further inform Borrower ofthe tight to reinstate after acceleration and the right to bring a court
                          action to assert the nett-existence ofa default or any other defense of Borrower to acceleration and sale. Ifthe
                          default is not cured on or before the date specified in the notice, Lander at its option may require immediate
                          pornerit in full of all sumsseamed by this Security Instrument without further demand and may invoke the
                          power of SAID and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
                         expensesincurred in pursuing the remedies provided in this Section 22,including, but not limited to, reasonable
                          attorneys' fees and costs °ratio evidence.
                                IrLender invokes the power ofsale. Trustee shalt give notice ofsalt by public advertisement in the county'
                          in which the Property is located for the time and in the manner provided by Applicable Law, and Lender or
                         Trustee shall mail a copy of the notice, ofsale to Borrower in the marine- provided in Section 15. Trusts,
                         without demand on Borrower, shall sell the Property at public auction to the highest bidder at the time and
                         under the terms designated in the notice °Isola, Lender or its designee may purchase the Property at any sale.
                               TrtniCt shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or
                          warranty, expreased or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth
                         of the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a)to all
                         expenses of the sale, including, but not limited to, reasonable Trustee's'end attorneys' fees(b) to all sums
                         secured by this security instrument; and (c)any excess to the person or persons legally entitled to it. If the
                         Property issold pursuant to this Section 22.Borrower, or any person holding possession oftheProperty through
                         Borrower, shall immediately surrender possession of the Property to the purchaser at the sale. If pnac-rsion
                         is not surrendered, Borrower or such person shall Bea tenant at will ofthe purchaser and.hcrebyagr ees to pay
                         the purchaser the reasonable rental value of the Property aft= salt.
                               23. Release. Upon payment of all sums secured by this Security Instrument. Lender shall release this Security
                         Instrument. Lender may charge Borrower a fee for releasing this Security instrument, but only Jr the ree.is paid to
                         a third pony for services rendered and the charging or the fee is permitted under Applicable Law.


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                               24. Substitute Trustee. Lender, at Its option, may from time to time remove Trustee and appoint a successor
                         trustee to any Trustee appointed hereunder by an instrument recorded in the county in which this Security Instrument
                         is recorded. Without conveyance ofthe Property, the successor trustee shall succeed to all the title, power and duties
                         conferred upon Trustee herein and by Applicable Law.
                               25. Waivers. Borrmver waives alt right or homestead, equity of redemption,statutory right or redemption and
                         relinquishes all other rights and exemptions ofevery kind, Including, but not limped to, a statutory right roan elective
                         share in the Property.

                              BY SIGNING BELOW. Borrower accepts and agrees to the terms and covenants contained                           in   this Security
                         Instrument and in any Rider executed by Borrower and recorded with It,

                         IN WITNESS WHEREOF, Borrower has executed this Security Instrument




                                                                        (Seal)                                                                       (Seal)
                                           miorcHELL                -Borrower                                                                    •Borrower




                                                                        (Seal)                                                                      (Seal)
                                                                    -Borrower                                                                   -Borrower




                                                                        (Seal)                                                                      (Seal)
                                                                    -Borrower                                                                    Borrower




                        Winless:                                                          Winless:




                        TENNESSEE-5410c Familv-Kannie Mao/froddm Mae UNIFORM INSTRUMEN1 • MERS                        DoCtAvgiCiViamos Boo-sip,r362
                        Form 3043 1/01                                 Page 13 of 14                                           www.Opanagiacom




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 54 of 61                                                                                                  PageID 61

                                                  Torn Leantorwood, Shelby County Register al Deeds: Instr. #9490788o:




                            . •
                           State of Tennessee,

                           County of,
                                    S))EA/


                              On this 31:.: day of Dfreril4t1.—   r 469                                           , before ME personally appeared
                            MARVELL R MITCHELL .01D LEDFIT      IIITCBELL


                           to me known tube the person (or persons) described in and who executed the foregoing instrument. and acknowledged
                           that he/she/they executed the same as his/her/their free act and deed,




                                                                                                                                      Notary Public


                                                                                          My commission expires: ,/atizo/OS—




                          TENNESSEE-Single Family-Fannie Met/Freetbe Mac UNIFORM INSTRUMENT • MERS                 0ocneVeaRmscee eno-us•elet
                          Form 1043 1/01                                   Page 14 01 14                                   www.docmaplaram




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 55 of 61                                          PageID 62

                          Tom Leathe*.       :Shelby County Register of Deeds: ln§l,r. # 05007896




    Land situated in Shelby County,'Tennessee:

    Lot.206, Phase IX• Section A, Plantation Estates Davieshire Subdivision, as shown on Plat of record in Plat Book
    142, Page 6, in the Register's Office of Shelby County, Tennessee, to which Plat reference is hereby made for a
    more particular description of said property.




                                                                                           (0411068PFD/0411058/20)
Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 56 of 61                                                                  PageID 63

                                   Torn Le014(4papoci, Shelby County Register of Deeds:                  88807096




                 Assessor's Parcel Number:

                 After Recordlnp, Return To:
                 APIE FINANCIAL CORPORATION
                 4 036 WETHERBURN WAY
                 NORCROSS,GF.ORGIA 30092


                 Prepared By:




                                             !Space Above This Line For Recording Data)
                                 FIXED/ADJUSTABLE RATE RIDER
                           (LIBOR. One-Year Index(As Published In 7-17e it511 Slicat Journal). Ram Caps)

              DOC ID 4:2004005832




                   THIS FIXED/ADJUSTABLE RATE RIDER is made this 31st                             day of DECEMBER
                   2004            , and is Incorporated into and shall be deemed to amend and supplement the
              Mortgage, Deed of Trust, or Settuity Deed (the "Security Instrument") of the same date given by the
              undersigned ("Borrower") to secure Borrower's Fixed/Adjustable Rate NOIe (the "Note") to
              AME FINANCIAL CORPORATION, A GEORGIA CORPORATION
              ("Lender`)tithe same date and covering the properly described In the Security Instrument and located an
                             9375 ZACHARIAH COVE, MEMPHIS, TENNESSEE 38133
                                                       (Property Address)
                     THE NOTE PROVIDES FORA CHANGE IN BORROIA/B?S FIXED INTMEST RATE
                     TO AN ADJUSTABLE INTEREST RATE THE NOTE LIMITS THE AMOUNT
                     BORROWERS ADJUSTABLE INTEREST RATE CAN CHANGE AT ANY ONE TIME
                     AND THE MAXIMUM RATE BORROWER MUST PAY,




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             a  MULTISTATE FIXED/ADJUSTABLE RATE RIDER - WSJ One-Year LIBOR - Single Fa
             INTEREST ONLY
             FE-4288 10309)                   Page 1 of 4                       Initial




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                         ADDITIONAL COVENANT'S. In addition to the covenants and agreements made In the Security
                    instrument. Borrower and Lender further covenant and agree as follows:
                    A. ADJUSTABLE RATE AND MONTHLY PAYMENT CHANGES
                         The Note provides for an initial fixed interest rate of 5.375 %. The Note also provides for
                    a change in the initial fixed rare to an adjustable interest rate, as follows:

                    4. ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES
                         (A)Change Dates
                         The initial fixed interest rate l will pay will change to an adjustable interest rate en the first day of
                     _ qUARY, 2015 , and the adjustable interest rate I will pay may change on that day every l2th
                    month thereafter. The date Da which my initial fixed interest rate changes to an adJusiabletucrest rate, and
                    each date on which my adjustable Interest rate could change, is called a *Change Date."

                         (B)The Index
                          Beginning with the first Change Date. my adjustable Interest rate will be based on an Index. The
                    "Index" is the average of interbank offered rates for one year U.S. dollar-denominated deposits in the
                    London market ("LIBOR"), as published in The 14h11 Street Journal. The most recent Index figure
                    available as of the date 45 days before each Change Date is called the 'Current Index-.
                         If the index is no longer available, the Note Holder will choose a new index that is based upon
                    comparable information. The Note Holder will give me notice of this choice.

                        (C)Calculation of Changes
                         Before each Change Date. the Note Holder will calculate my new interest rate by adding TWO AND
                        250/1000                         percentage points( 2.250 %) to the Current Index. The Note.
                   Holder will then round the result of this addition to the nearest one-eighth of one percentage point
                   (0.125%). Subject to the limits stated In Section 4(D) below, tbls rounded amount will be my new Interest
                   rate until the next Change Date.
                         The Note Holder will then determine the amount of the monthly payment that would be sufficient to
                   repay the unpaid principal that I am expected to owe at the Change Date in full On the Maturity Date at my
                   new Interest rate in substantially equal payments. The result of this calculation will be the new amount of
                   my monthly payment.

                        (D)Limits on Interest Rate Changes
                         The interest rate I am required to pay at the first Change Date will not be grease;dean 10.375 %
                   or less than     2.250 %. Thereafter, my adjustable interest rate will never be increased or decreased
                   on any single Change Date by more than two percentage paints from the rate of interest I have been paying
                   preceding 12 months. My interest rate will never be greater than 10.375 %.
                        (E)Effective Date of Changes
                        My new Interest rate will become effective on each Change Date. I will pay the amount of my new
                   monthly payment beginning on the first monthly payment date after the Change Date until the amount of
                   my monthly payment changes again,




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Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 58 of 61                                                                             PageID 65

                                  Tom Lealherwood, Sholby County Register 01 Deeds: Instr. # 05007898




                    (F)Notice or Changes
                     The Note Holder will deliver or mall to me a notice of any changes in oty initial fixed interest rate to
              an adjustable interest sale and of any changes in my adjustable interest rate before the effective date of any
              change. The notice wlll include the amount or my monthly payment, any information required by law to be
              given to me and also the title and telephone number of a person who wilt answer any question! may have
              regarding the notice.
              FL TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
                     1. Until Borrower's initial fixed interest rate changes to an adjustable interest rate under the terms
              stated in Section A above, Uniform Covenant 18 of the Security instrument shall read as fellows:
                          Transfer of the Property or a Beneacial Interest in Borrower. As used in this Section
                     18, Interest In the Property' means any legal or beneficial interest in the Property, including,
                    but not limited to, those beneficial interests transferred in a bond for deed, contract for deed,
                    installment sales contract or escrow agreement. the Intent of which is the transfer of title by
                    Borrower at a future date to a purchaser,
                          If all or any part of the Property or any Interest in the Property Is sold or transferred (or if
                    Borrower is net a natural person anti a beneficial Interest In Borrower is sold or transferred)
                    without Lender's prior written consent, Lender may require immediate payment in full of ail
                    sums secured by this Security Instrument. However, this option shall not be exercised by Lender
                    if such exercise is prohibited by Applicable Law.
                          If Lender exercises this option, Lender shall give Borrower notice of acceleration. The
                    notice shall provide a period of not less than 30 days from the date the notice is given in
                   accordance with Section 15 within which Borrower must pay all sums secured by this Security
                    Instrument. if Borrower falls to pay these sums prior to the expiration of this period. Lender
                    may invoke any remedies permitted by this Security insinunent Will1DUI further notice or
                   demand on Borrower.
                   2. When Borrower's initial faced interest rate changes to an adjustable interest rate under the terns
             stated In Section A above, Uniform Covenant 18 of the Security Instrument described in Section B1 above
             shall then cease to be in effect, and the provisions of Uniform Covenant 18 of the Security Instrument shall
             be amended to read as follows:
                          Transfer of the Property or e Beneficial Interest in Borrower. As used in this Section
                   18, "Interest in the Property' means any legal or beneficial Interest in the Property. including•
                   but not limited to, those beneficial interests transferred in a bond for deed, contract for deed,
                   installment sales Contract or escrow agreement. the intent of which is the transfer of title by
                   Borrower at a future date to a purchaser.
                         If all or any part or the Property or any Interest in the Property is sold or transferred (or If
                   Borrower Is not a natural person and a beneficial interest in Borrower is sold or transferred)
                  without Lender's prior written consent, Lender may require immediate payment in full of all
                  sums secured by this Security Instrument. However, this option shall not be exercised by Lender
                  If such exercise is prohibited by Applicable Law. Lender also shall not exercise this option if:
                  (a) Borrower causes to be submitted to Lender information required by Lender to evaluate the
                  intended transferee as if a now loan were being made to the transferee; and (b) Lender
                  reasonably determines that Lender's security will not be impaired by the loan assumption and
                  that the risk of a breach of any covenant or agreement in this Security Instrument is acceptable
                  to Lender.




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             e MULTISTATE FIXED/ADJUSTABLE RATE RIDER - WSJ one-year LIBOR • Single Fam
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             FE-4266 (0309)                  Page 3 of 4                       Initials




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                                Torn Leatherwood, Shelby County Register of Deeds: Instr.# 0500780'6




                        To the extent permitted by Applicable L.aw, Lender may charge a reasonable fee as a
                   condition to Lender's consent to the loan assumption. Lender also may require the transferee to
                   sign an assumption agreement that is acceptable to Lender and that obligates the transferee to
                   keep all the promises and agreements made in the Note and in this Security •Instrument.
                   Borrower wilt continue to be obligated under list. Note and this Security Instrument unless
                   Lender releases Burrower in writing.
                        If Lender exercises the option to require immediate payment in full, Lender shall give
                   Borrower notice of acceleration. The notice shall provide a period of not less than 30 days from
                   the date the notice Is given in accordance with Section 15 within which Borrower must pay all
                   sums secured by this Security Instrument. If Borrower fails to pay these sums prior to The
                   expiration of this period, Lender may invoke any remedies permitted by this Security Instrument
                   without further notice or demand on Borrower.
                   BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
              Fixed/Adjustable Rate Rider.


                                                                                                                   (Seal)
                                                                                                               -Borrower

                                      e    ibre.A               Ava—MoL.                                           (Seal)
                                                                                                               -Borrower

                                                                                                                  (Seal)
                                                                                                              •Borrower

                                                                                                                   (Seal)
                                                                                                               -Borrower




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             • MULTISTATE FIXED/ADJUSTABLE RATE RIDER - WSJ Ono-Year LIBOR •Single Family
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  Case 2:14-cv-02997-SHM-dkv Document 1-2 Filed 12/17/14 Page 60 of 61                                                       PageID  671




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                                                                                                 NOV 17 2014
                                                                                        DONNAc.1,9VSSEL
                                                       RESTRAINING BOND
                                                                                        TIME: Hi BY.
                                                       No. c4-4        -     8'0 (
      WE      Ae           c.///

                                                               as principal and     t}
                                                                                     6a     A.8,
                                                  as surety acknowledge ourselves indebted to


                            / viz—) in the sum of                                           a 6d, uti)         Dollars




      The condition of the above Bond is such, that whereas the said       /1 1 o
                                                                                „                       ¿a

                         Plaintiff(s) this day filed          Bill in the Chancery Court of Shelby County against the said


                                                              Defendant(s) and obtained a fiat for the issuance of the


     Restraining Order, in accordance with said fiat, upon the execution of the Bond. Now, if the said Plaintiff(s) shall pay

     Such damages and costs as may be awarded by the Chancery Court in dismissing the complaint, then this obligation to

     be void, otherwise to remain in full force and effect.



                           Witness our hands and seals this, the /7        day of                      20 /




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                                                                                                                             PageID   681




               SENDER; COMPLETE THIS SECTION                      COMPLETE THIS SECTION ON DELIVERY

              •Co plate items 1, 2, and 3. Also complete          A. Signature
                ite 4 If Restricted Delivery Is desired.
              •Pri t your name and address on the reverse          X
                so at we can return the card to you.
              ■ Attach this card to the back of the mapiece,
                or on the front if space permits.
                                                                  D. Is(lawny address different from item 17 D Yes
               1. Ankle Addressed to:                                it,yEs,enter delivery address below: 0 No
              ,inessee Department of State
              :ision of. Business Services
             rtn: Scolmons
             12 ElET,nth Avenue North                             3. Service Type
             :h Pim'. William R. Snodgrass Tower                        Certified Mall    0 Express Mall
             ashville, TN 37243                                        D Registered       D Return Receipt for Merchandise
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              2. Article Number
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